  Case 3:20-cv-02910-X Document 316 Filed 09/22/21               Page 1 of 40 PageID 5951



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                          §
 U.S. COMMODITY FUTURES TRADING                           §
 COMMISSION, et al.                                       §
                                                          §
                        Plaintiffs,                       §
                                                          §     CIVIL ACTION NO.
                           v.                             §       3:20-CV-2910-L
                                                          §
TMTE, INC. a/k/a METALS.COM, CHASE                        §
METALS, INC., CHASE METALS, LLC,                          §
BARRICK CAPITAL, INC., LUCAS THOMAS                       §
ERB a/k/a LUCAS ASHER a/k/a LUKE ASHER,                   §
and SIMON BATASHVILI,                                     §
                                                          §
                        Defendants,                       §
                                                          §
TOWER EQUITY, LLC,                                        §
                                                          §
                        Relief Defendant.                 §
                                                          §


                          APPENDIX IN SUPPORT OF RECEIVER'S
                               FIFTH FEE APPLICATION

        Kelly M. Crawford, as the Couii appointed Receiver, submits the following Appendix in

Support of the Receiver's Fifth Fee Application, as follows:

Exhibit A       Invoices of Receiver's time and expense         pages 3 to 10

Exhibit B       Invoices of Scheef & Stone                      pages 11 to 35

Exhibit C       Invoices of Brown Fox, PLLC                     pages 36 to 38

Exhibit D       Declaration of Receiver Kelly Crawford          pages 3 9 to 40




APPENDIX IN SUPPORT OF RECEIVER'S FIFTH FEE APPLICATION                              PAGE I



                                                                                  APP00001
 Case 3:20-cv-02910-X Document 316 Filed 09/22/21                       Page 2 of 40 PageID 5952



 Dated: September 22, 2021


                                                 Respectfully submitted,

                                                           SCHEEF & STONE, L.L.P.


                                                          By: Isl Peter Lewis
                                                              Peter Lewis
                                                              State Bar No. 12302100
                                                              Peter.Lewis@solidcounsel.com

                                                          500 North Akard, Suite 2700
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 706-4200
                                                          Telecopier: (214) 706-4242

                                                          ATTORNEYS FOR RECEIVER
                                                          KELLY M. CRAWFORD




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 22, 2021, I electronically filed the
foregoing document with the clerk of the U.S. District Court, Eastern District of Texas, using the
electronic case filing system of the court, which provided a "Notice of Electronic Filing" to all
attorneys of record.


                                                          Isl Peter Lewis
                                                          PETER LEWIS




APPENDIX IN SUPPORT OF RECEIVER'S FJFTH FEE APPLICATION                                      PAGE2



                                                                                        APP00002
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                   Page 3 of 40 PageID 5953




      Scheef & Stone, L.L.P.
                                                                   ~~jjJ
      500 N. Al<ard, Suite 2700                         SCHEEF & STONE
      Dallas, Texas 75201                                     BOLIO COUNSEi.



                                                                  INVOICE

      Kelly Crawford Receivership - Metals.co                                                           Statement Date:       06/25/2021
                                                                                                            Account No.       16125.101
                                                                                                             Invoice No.        1023241




        Matter 101 - Receiver




                                                                                                                       Hours
05/26/2021      KMC    Receive emall from A. Spencer regarding deposits Into receivership account
                       and respond regarding status of complying with the court orders (.25); receive
                       and review email from counsel for Carlos Cruz and MaglcStar Arrow and
                       conference with P. Lewis regarding same (.25); communicate with new
                       claimant and provide claim form to claimant (.25); communicate with States
                       representative regarding providing list of claimants organized by State and
                       obtain list from paralegal (.50); investigate multitude of leads in database,
                       Including leads obtained from review of AMEX (2.50); conference with
                       paralegals regarding a number of investor claims (.50).                                             4.25

05/27/2021     KMC     Review list of claimants with highest claim amounts In each state and
                       conference with paralegal regarding same (.25); conference with paralegal
                       regarding non-metals claims (.25); conference with J. Rolls regarding
                       Investors as witnesses (.25); conference with D. Dyer regarding fraudulent .
                       transfer clalm against brol<ers and review Fifth Circuit oplnlon,9'itaiill•••••l11. .
                      tt 11 t :: 1 ' J " J            '      •    (.75); telephone conference with K.
                       Luquette (.25); research commissions paid to D. Bleeden and prepare chart of
                      same (1.75); conference with A. Steinberg regarding review of AMEX
                      statements (:25); conference with paralegal regarding certain claimants and
                      status of claims (.50).                                                                          4,25

05/28/2021     KMC    Conference to further research location of assets and gather Information for
                      claims against brol<ers (2.25); review AMEX charges with law clerl< (,25);
                      telephone conference with CFTC regarding status of S. Batashvili returning
                      the monies he transferred In violation of the receivership orders (.50); research
                      potential transfer of assets outside the United States (1.00).                                   4.00

06/01/2021    l<MC    Begin preparing Receiver's Claims Report (1.25); begin analysis of non-metals
                      claims and conferences with paralegal and with J. Rolls regarding same
                      (2.25); execute real estate contracts to sell two Philadelphia properties (.25);
                      communicate with Investors regarding claims (.25); conference with P. Lewis
                      regarding Forge Investment and havln It transfe         to receivership (.25).                   4.25

                                                           EXHIBIT

                                                                                                                    APP00003
              Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 4 of 40 PageID 5954


        Kelly Crawford Receivership - Metals.com                                                                         06/25/2021
                                                                                                          Account No:    16125-101
                                                                                                           Invoice No:     1023241
        Matter 101 - Receiver




                                                                                                                 Hours
 06/02/2021     KMC     Communicate with A. Spencer regarding consent to request for extension to
                        file response to motion for show cause hearing against Simon Batashvili (.25);
                        conference with CFTC regarding extension of time to respond to motion for
                        show cause hearing (.25); review call notes of Investors with J. Rolls (.25);
                        communicate with P. Lewis regarding having SpaceX Investment transferred
                        to Receiver's name (.25); communicate with CrowdStreet entity regarding
                        payments to receivership (.25); attend to Investor Inquiries and communicate
                        with Investor (.25); begin preparing letter to CallTrackingMetrlcs (.75).                 2.00

 06/03/2021     KMC     Complete letter to CallTracklngMetrics (.25); prepare letter to general counsel
                        of Cadre regarding failure to respond to first demand letter and send to P.
                        Lewis for review (.75); prepare and file Notice of No Objection to Motion for
                        Appointment of Appraisers, etc. (.50); conference with Avl regarding brokers
                       and their entitles and addresses for same for Including In Complaint for
                       purposes of service (.50); review case law in California regarding fraudulent
                       transfer claims and communicate with D. Dyer regarding same (.25); review
                       Tower Equity PPM, Private Placement docs, Note, and Security Agreement
                       (1.00); review Tower Investors and conference with Avl regarding review of
                       Tower checks for payments to Tower Investors (.25); attend to claims (.25);
                       communicate with broker regarding status of contracts, court hearing, and
                       need to pay for repairs of Rhawn Street property and issue check for same
                       (.25).                                                                                     4.00

06/04/2021      KMC    Conference with Avl regarding calculating commissions paid to each broker
                       (.25); receive jewelry from A. Spencer delivery man, photograph same, and
                       send email to A. Spencer regarding same (.25); work on analysis of
                       non-metals claims (.50); review database for documents regarding offering
                       made to Revo Investors and have binder of relevant documents prepared and
                       prepare list of Revo Investors, amounts Invested, and employees (1.25).                   2.25

06/05/2021      KMC    Work on receiver's recommendation for non-metals claims (. 75); research
                       banking transactions In Tower account (.25); review status of crowdstreet
                       Investment and communicate regarding distribution owing to T~wer (.50); ~.
                      ,pr.eia1;1re third demand letter to Slgnatur~ank demanding production of
                       documents and communicate with P. Lewis regarding same (.50);
                       communicate with P. Lewis regarding depositions to take and status of
                       Simon's contempt (.25).                                                                   2.25

06/07/2021     KMC     Conference with paralegal regarding non-metals claims and review
                       non-metals claims (1.00); telephone conference with CFTC (.50); review
                       production from Chris Daigle regarding National Training Services and have
                       bani< documents reviewed (.75); have checks deposited into receivership
                       account (.25); conference with D. Dyer regarding Complaint against brokers


                      IJ        ] £ (.25).
                                                                            411•••••••
                       (.25); conference with Avi regarding calculating commissions paid to brokers
                       (.25); communicate with P. Lewis regarding deposing
                                                                                                                 3.25

06/08/2021     KMC    Receive and review letter from investor Ted Wickstrom and respond (.25);
                      attend to Investor from Iowa who claims she did not receive claim form and
                      communicate with Iowa regulators regarding same (.25); telephone
                      conference with K. Luquette regarding production of database (.25);
                      conference with J. Stafford regarding production of database (.25); telephone

                                                                                                              APP00004
              Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 5 of 40 PageID 5955


         Kelly Crawford Receivership - Metals.com                                                                        06/25/2021
                                                                                                          Account No:    16125-101
                                                                                                           Invoice No:     1023241
        Matter 101 - Receiver




                                                                                                                 Hours
                       conference with CFTC regarding production of database (.25); review letter
                       from attorney for MaglcArrow and prepare responsive email and conference
                       with P. Lewis regarding same (.50); conference with clerk regarding review of
                       bank records as to investment made In National Training Services (.25); work
                       on non-metals claims analysis and conference with J. Rolls regarding Linda
                       Andersen claim (.75); work on creditor claims analysis and conference with
                       paralegal regarding preparing chart of same (.75).                                         3.50

 06/09/2021     KMC     Telephone conference with former employee (.25); communicate with Rachel
                        sending her list of claims received, organized by State (.25); conference with
                        P. Lewis regarding strategy for                                 (.25); review
                       database regardlng49involvement with Defendants (.50); review excel
                       spreadsheets and bank records regarding significant charges to AMEX claim
                       by Fainche (.50); review bank records of National Training Services and send
                       email to C. Daigle with questions regarding expenditures (.75); begin revising
                       Complaint against Brokers (.50); Investigate additional brokers and their
                       receipt of monies for Inclusion In Complaint (.75); work on obtaining additional
                       Information for completion of analysis of non-metal claims and communicate
                       with various Investors regarding claims (.50).                                             4.25

06/10/2021      KMC   Contact Capital One about statements for accounts (.25); conference with J.
                      Rolls regarding following up with JP Morgan Chase to get documents and
                      review status of production by JP Morgan Chase (.50); communicate with J.
                      Brandlin regarding additional accounts (.25); review Intuit and quickbooks
                      (.50); attend to questions from claimants regarding claims (.50); review draft of
                      Complaint against brokers and communicate with D. Dyer regarding same
                      (.50); legal research regarding
                                                                              nd communicate with P.
                      Lew s regarding same (1.00); communications with CFTC regarding monies
                      received toward repayment of monies hidden in violatlon of the SRO by Simon
                      Batashvlli (.50).                                                                          4.00

06/11/2021      KMC Work on Identifying bani< records remaining to obtain and communicate with        1


                    associate regarding making second demand upon Paypal and JPMorgan
                    Chase for production of bank records (1.75); attend to claims and analyze
                    non-metal claims (. 1.00); review creditor claim filed by attorney for Perez
                    Batashvlli (.25);                                                                            3.00

06/14/2021     KMC    Prepare initial draft of Reply to Defendant Simon's Response to Motion for
                      Show Cause Hearing and legal research In support of same (3.00); telephone
                      conference with CFTC and Peter Lewis (.50); attend to Investor claims (.25);
                      review response by Defendant attorneys to motion to compel disclosure of
                      retainer (.25); work on Identifying status of bank record production and
                      analysis (.50); communicate with CallTracl<lngMetrlcs regarding request for·
                      production (.25); communicate with Cadre regarding turnover of distributions
                      (.25).                                                                                     5.00

06/15/2021     KMC    Telephone conference with CFTC and P. Lewis (.75); attend to claims and
                      conference with team regarding deadline for claims (.75); begin work on reply
                      to response to motion for show cause order to hold Defendant Simon
                      Batashvlli In contempt (1.25).                                                            2.75


                                                                                                              APP00005
              Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                 Page 6 of 40 PageID 5956


         Kelly Crawford Receivership - Metals.com                                                                           06/25/2021
                                                                                                             Account No:    16125··101
                                                                                                              Invoice No:     1023241
        Matter 101 - Receiver




                                                                                                                    Hours
 06/16/2021      KMC    Revise, finalize, and file Reply to Defendant Simon Batashvlli's Response to
                        Motion for Show Cause Hearing for Contempt of Court and conference with P.
                        Lewis regarding same (3.00); prepare letter to MinnStar Bani< following up with
                        request for production of bank records (.50); prepare letter to General Counsel
                        for Colnbase enclosing receivership orders and making demand for production
                        (.50); telephone conference with L. Sanderson and with JP Morgan Chase
                        about production of bank records (.50);                                                      4.50

 06/17/2021     KMC     Legal research for Reply to Defendant Attorneys' Response to Motion to
                        Compel, conference with Prlya regarding legal research, and prepare draft of
                        Reply (4.50); telephone conference with JPMorgan Chase regarding
                        production of bank records and provide requested Information by email (.25).                 4.75

 06/18/2021     KMC     Continue researching, preparing and finalizing Reply to Defendant Attorneys'
                        Response to Motion to Compel and have filed with the Court (4.00); telephone
                        conference with P. Lewis regarding Reply, CallTracklng Metrics, and Fainche
                        (.50); send Motion to Sell Two Additional Properties to Plaintiffs and counsel
                        for Defendants for purposes of conferencing (.25).                                           4.75

 06/21/2021     l<MC   Confirm deposit of monies in receivership account by Batashvili and
                       communicate same with A. Spencer (.25); telephone conferences with CFTC
                       regarding metals values and motion for authority to sell two additional.
                       properties (.50); conference with paralegal regarding claims process (.25);
                       conference with P. Lewis regarding strategy with respect to Falnche, Including
                       fraudulent conveyance claims against her, and her refusal to turn over jewelry
                       (.25).                                                                                        1.25

06/22/2021      KMC Work on Receiver's Fou1th Status Report (3.00); communicate with J, Stafford
                    regarding making database available to the parties (.25); attend to unknown
                    claim amount for investor and communicate with paralegal regarding same
                    (.25); receive revised car registration for Mercedes and send to broker and
                    lienholder (.25).                                                                               3.75

06/23/2021      KMC Work on Receiver's Fourth Report (2.50); prepare Receiver's Fourth Fee
                    Application, Declaration, and Order (2.25 no charge); work on preparing
                    database of documents for production to parties and communicate with J.
                    Stafford regarding same (.50); telephone conference with CFTC (.50); finalize
                    motion to sell two additional Philadelphia properties (.25); conference with J.
                    Rolls regarding handling remaining Investors who need to get metals from
                    Bayside (.25).                                                                                  4.00

06/24/2021     KMC Revise and finalize Receiver's Fourth Report (1.00); finalize Motion to Sell 2
                   additional properties and have filed with the Court (.25); telephone conference
                   with tax accountants regarding information needed for filing tax returns and



                       =.2
                   attend to providing the tax accountants with Information (1.00); revise fourth
                   fee application (.50 - no charge); conference with P. Lewis regarding•



                       (.50).
                                2:
                                     1




                                         •  I   Ie (.SO)ije~.~~~s;r:~:r~e,~~~~I~       counsel for parties
                       waiving attorney client privilege of entities and have letter reviewed by P. Lewis
                                                                                                                    3.75

06/25/2021     KMC     Prepare letter to escrow agent providing receivership orders and demanding

                                                                                                                 APPOOOOG
   Case 3:20-cv-02910-X Document 316 Filed 09/22/21                               Page 7 of 40 PageID 5957


Kelly Crawford Receivership - Metals.com                                                                            06/25/2021
                                                                                                 Account No:        16125-101
                                                                                                  Invoice No:         1023241
Matter 101 - Receiver




                                                                                                         Hours
               production of documents (.50); prepare letter to East West bank regarding
              deposit of cashier's check found In defendants' records (.25); revise and
              finalize Receiver's Fourth Report and have filed with the Court (1.50); revise
              petition for payment of fees and send to CFTC for purposes of conferencing
              (1.50 - no charge); conference with J. Stafford regarding status of production
              of documents In database and revise and send email to parties regarding
              making documents available for review and Inspection (.50); conference with
              P. Lewis regarding call with attorney for Forge regarding SpaceX liquidation
              (.25).                                                                                         3.00
              For Current Services Rendered                                                              82.75      32,272.50

                                                   Recapitulation
        Timekeeper                                                  Hours    Hourly Rate             Total
        Kelly M. Crawford                                           82.75       $390.00        $32,272.50


              Total Current Services and Expenses                                                                   32,272.50




            TERMS: Due and Payable Upon Receipt

                                                                                                      APP00007
              Case 3:20-cv-02910-X Document 316 Filed 09/22/21                            Page 8 of 40 PageID 5958




       Scheef & Stone, L.L.P.
       500 N. Akard, Suite 2700                      SCHEEF & STONE
       Dallas, Texas 75201                                 801.IO GOUN8 L




                                                               INVOICE

      Kelly Crawford Receivership - Metals.co                                                     Statement Date:       07/25/2021
                                                                                                      Account No.       16125.101
                                                                                                       Invoice No.        1025146




        Matter 101 - Receiver




                                                                                                                Hours
 06/28/2021     KMC Check on status of bank records and bani< records that are missing and
                    communicate with accountant J. Brandlln regarding same (1.00); worl< on
                    Claims Report (1.00); virtual meeting with J. Brandlin to review status of
                    forensic accounting and bank records still needed and follow up after meeting
                    to answer questions regarding account numbers (.75); communicate with
                    brol<er regarding status of hearing to approve sale of properties (. 1O);
                    telephone conference with escrow agent to confirm funds had been disbursed
                    and escrow agent handled no other transactions for defendants (. 15).                            3.00

06/29/2021      KMC   Review and execute documents required to open brokerage account to
                      receive distribution of shares from EquityZen investments and send to broker
                      (.50); receive and review metals valuations and conference with paralegal
                      regarding same and confer with CFTC regarding same (.50); begin work on
                      determining mallout to investors regarding claims report and logistics of same
                      (.50); communicate with Pacific Premier Bank regarding bank document
                      production (.25); receive and review CD regarding BOA bank record
                      production, compare to previous production, Identify missing documents and
                      communicate with C. Thomas and J. Brandlln regarding same (1.25).                          3.00

06/30/2021      KMC Telephone conference with CFTC, metals expert, and paralegal.                                0.50

07/01/2021     KMC    Conference with claims process team regarding preparing claims
                      recommendations and preparing for mailout of claims (.50); telephone
                      conference with P. Lewis regarding call with attorney for MaglcStar Arrow and
                      regarding Judge Lindsay orders (.50); prepare draft of advertisement for notice
                      of sale of 6 properties In Philadelphia and communicate with J, Rolls regarding
                      same (.50); communicate with Bayside Metals regarding processing metals
                      orders for two Investors (.50); conference with Avi regarding Equity Trust and
                      communicate with J. Rolls regarding same (.25).                                            2.25

07/02/2021     KMC Review calculations of claims for certain metals Investors and conference with
                   paralegals regarding same (.50); work on analysis of non-metals claims and
                   prepare letters to non-metal Investors regarding claim recommendations


                                                                                                              APP00008
              Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 9 of 40 PageID 5959


         Kelly Crawford Receivership - Metals.com                                                                        07/25/2021
                                                                                                          Account No:    16125,101
                                                                                                           Invoice No:     102514()
         Matter 101 , Receiver




                                                                                                                 Hours
                           (2.75); conference with P. Lewis regarding pending receivership Issues and
                           order from court regarding withdrawal of counsel (.25).                                3.50

 07/06/2021     KMC Work on analysis of non,metals clalms (2.00); work with A. Steinberg to review
                    potential targets for recovery In disco system (1.00); execute extensions of
                    three real estate contracts (.25); conference with P. Lewis regarding MagicStar
                    Arrow (.25).                                                                                  3.50

 07/07/2021     KMC Work on non,metals claim analysis (.50); telephone conference with CFTC
                    regarding production of records (.25); communicate with CFTC regarding

                       ,           '   '
                                           0
                                              I ? I I !fl I It l9llllllty (.25); communicate with third
                                               '


                       parties regarding review of documents (.25); review Information discovered by
                       Avl from search of database and conference with Avl regarding same (.50);
                       review and execute addendum to sale contract to extend closing date for sale
                       of Phlladelphla property (.25).                                                            2.00

 07/08/2021     KMC    Communications with Bayside Metals regarding filling orders of Investors
                       whose orders were frozen by receivership (.50); analyze Investor claims for
                       non-metals Investments and confer with J, Rolls regarding same and
                       communicate with accountant for Investor regarding same (.75).                             1.25

07/09/2021      KMC   Conference with J. Stafford regarding culling from database of documents
                      those documents that may be privileged and provide J. Stafford with list of
                      attorneys who may have represented Asher or Batashvlll individually (.75);
                      conference with CFTC regarding culling of documents for privilege prior to
                      production (.25); communicate with paralegal and with CFTC regarding expert
                      value of remaining coins for analysis of claims (.25); conference with
                      accountants regarding assisting In obtaining bank records from Signature
                      Bank and PayPal (.50); work on non,metals claim recommendations and
                      chart to Include in claims report (.50); revise Claims Report regarding
                      non,metals claims (.75).                                                                   3.00

07/12/2021     KMC Receive and review bank production from JP Morgan Chase and send to J.
                    Brandlln for forensic accounting (1.00); receive and review bank production
                   from Pacific Premier Bani< and send to J. Brandlin for forensic accounting
                    (,50); conference with claims team regarding status of calculations (.50);
                   telephone conference with CFTC regarding production of documents and
                   regarding claims process (.50); communicate with J. Stafford regarding
                   document production (.25); start process for having bank records put on CD
                   (.25); telephone conference with c. Koonce regarding bacl<ground Information
                   for filing of lawsuit to recover commissions from brokers and send her draft of
                   complaint against brokers (.75); conference with Avi regarding obtaining EIN
                   numbers for entitles added to receivership (.25); conference with J. Rolls
                   regarding notice to be published In Philadelphia Inquirer for sale of properties
                   and make payment for same (.25); communicate with Bayside Metals
                   regarding Instructions of customers regarding metals ordered but held In
                   suspense pending the receivership (.25).                                                     4.50

07/13/2021     KMC Work on Claims Report and recommended treatment of claims (.75);
                   communicate with metals expert regarding metal values (.25); receive
                   document production from BOA and send to J. Brandlln and have put In

                                                                                                              APP00009
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                             Page 10 of 40 PageID 5960


        Kelly Crawford Receivership - Metals.com                                                                            07/25/2021
                                                                                                         Account No:        16125-101
                                                                                                          Invoice No:         1025146
        Matter 101 - Receiver




                                                                                                                    Hours
                       searchable format for production (.75); conference with Avi Steinberg
                       regarding purchases Identified on bank records produced by BOA and
                       commission payments to brol<ers (.25).                                                        2.00

 07/15/2021     KMC Work on Claims Report and analysis of creditor claims.                                           2.50

 07/19/2021     KMC Telephone conference with E. Planer of Alabama Securities Department (.25);
                    conference with P. Lewis regarding hearing on motion to compel (.25):
                    conference with J. Rolls regarding obtaining bank documents from Signature
                    Bank, obtain same, review production, and note deficiency (.50); review and
                    revise consent decrees in Montana and Maryland and conference with J.
                    Stafford regarding same (1.00); conference with paralegal regarding status of
                    claims calculation and determination of claim In which investor previously
                    settled with defendants (.50); work on preparing disc of bank records (.50);
                    communicate with J. Brandlln regarding bank record production and revise
                    status report of bani< record production and provide status of accounting to R.
                    Leazer (.50); conference with A. Steinberg regarding schedules of
                    commissions paid to brokers to Include In Complaint (.25).                                      3.75

07/21/2021      KMC Conference with Plaintiffs regarding review of records made available to the
                    parties, regarding pending motions, and conference with Kelly regarding status
                    of obtaining additional production of documents.                                                8.00

07/22/2021      KMC Prepare for hearing on Motion to Compel and conference with P. Lewis
                    regarding same (.50); appear In court for hearing on Motion to Compel (.75);
                    conference with Plaintiffs regarding Motion to Compel and status of other
                    pending motions (.75); conference with Cynthia regarding metals claims
                    analysis (.25).                                                                                 2.25

07/23/2021     KMC    Receive and review limited appearance of counsel for defendants and
                      telephone conference with Plaintiff representatives regarding same (.50);
                      review claims missing Information and conference with paralegal regarding
                      valuing claims at $0 until additional Information can be provided by investor
                      (.50);                                                                                        1.00

07/24/2021     KMC    Review and analyze claims and work on claims report and appendix.                         3.75
                      For Current Services Rendered                                                            49.75        19,402.50

                                                           Recapitulation
                Timekeeper                                                  Hours    Hourly Rate            Total
                Kelly M. Crawford                                           49.75       $390.00       $19,402.50


                     Total Current Services and Expenses                                                                    19,402.50




                                                                                                              APP00010
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 11 of 40 PageID 5961



     Scheef & Stone, L.L.P.
     500 N. Al<ard, Suite 2700
     Dallas, Texas 75201
                                                                 •it
                                                   SCHEEF 8t STONE
                                                         ~10 I. I ll   r: O lJ N fl E I.


                                                               INVOICE

    f<elly Crawford Receivership - Metals.co                                                     Statement Date:      06/26/2021
                                                                                                     Account No.      16125.102
                                                                                                     Invoice No.        1023977




       Matter 102 - Representation of Receiver


                                                                                                              Hours

05/26/2021      JLR Return the call of Investor Victim, B. Buisl<ool, regarding accidental deletion
                    of Investor Confirmation information; Speak with C. Morris regarding the
                    same and resending of documentation; Return call to IB. Buisl<ool notifying
                    her of the resending.                                                                      0.25
               JLR Receipt and review of email correspondence from Investor Victim, M.
                    Alexander, to provide attached documents/information to the Receivership
                    as the Investor thought the attached could be helpful to the Receiver; Draft
                    and send responsive email to the same.                                                     0.25
               CAM Telephone call' with Investor J. Troy to determine if he had valid a claim,
                    document file accordingly, and email Receiver regarding same (.6);
                   telephone calls and emails to and from various metals investors to resolve
                   claim issues and document file accordingly (2.5); continue efforts on
                   preparing claim calculation forms for metals Investors (3); interoffice
                   conference with team regarding investor calculation forms and other
                   methods of streamlining process (.5).                                                       6.60
               AS  Review AmEx statements                                                                      3.50
               AE  Review, revise, finalize, and process claims and send out claims to
                   investors.                                                                                  3.75
               PCL Communications with D. Baer, K. Crawford regarding offer on 29th Street
                   and/or review of related offer documents(.25); communications with A.
                   Bernstein and f<. Crawford regarding D. Bleeden (.25).                                     0.50

05/27/2021     JLR    Answer call from Investor Victim, M. Neeley, requesting status update as to
                       Receivership; Draft and send subsequent email to the same providing
                      written dates and information as discussed on the telephone call.                       0.25
               JLR    Interoffice conference with K. Crawford regarding specific Investor Victim
                      individuals and calls.                                                                  0.25
               JLR    Begin preparing list of names and details for agency regarding specific
                      Investor victim Individuals and calls                                                   1.00
               AE     Review, revise, finalize, and process claims and send out claims to
                      investors.                                                                              3.50
               AS     Review Amex statements                                                                  3.75


                                                          EXHIBIT

                                                                                                           APP00011
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                             Page 12 of 40 PageID 5962

       Kelly Crawford Receivership -Metals.com                                                                            06/26/2021
                                                                                                          Account No:     16125-102
                                                                                                           Invoice No:      1023977
       Matter 102 - Representation of Receiver


                                                                                                                 Hours
                CAM    Work on creating collection of metals investor claims from each state and
                       organizing with claims from each state for Receiver, and editing and
                       supplementing complied list of non-metals claims (3.5); continue reaching
                       out to investors who have questions or corrections on their metals claim
                       (2.5).                                                                                      6.00
                DBD    continued attention to broker claims, including conference with receiver,
                       computer research and reading case law.                                                     1.20
                PCL    Communications with K.Crawford regarding                     used by
                       Defendants and related file review.                                                        0.40

05/28/2021      JSS     Review Receiver's 3rd Status Report in preparation for drafting California
                        Federal District Court status report.                                                     0.50
                JSS     Draft Receiver's Status Report In California Federal District Court in light of
                       and In accordance with Texas Status Report.                                                1.00
                AS     Review Amex statements                                                                     2.00
                AE     Review, revise, finalize, and process claims and send out claims to
                       investors.                                                                                 6.00
                PCL    Meet with K.Crawford, et al., to discuss case status and strategy for
                       numerous Issues.                                                                           2.50

06/01/2021      JLR   Telephone call with Investor Victim, S. Hammerlund, regarding notes for
                      Receiver K. Crawford.                                                                       0.50
                JLR Telephone call with Investor Victim, D. Burch, regarding notes for Receiver
                      K. Crawford.                                                                                0.10
                JLR Telephone call with Investor Victim, P. Griffin, regarding notes for Receiver
                      K. Crawford.                                                                                0.10
                JLR Telephone call with Investor Victim, S. Altman, regarding notes for Receiver
                      K. Crawford.                                                                                0.10
                JLR Return telephone call with Investor Victim, P. Griffin, regarding notes for
                     Receiver K. Crawford.                                                                        0.25
               JLR Locate Non-Metals Investor, L. Andersen, documents and claim form;
                     Provide the same to K. Crawford for inclusion on the non-metals investor
                     list.                                                                                        0.25
               JLR Telephone call with Investor Victim, D. Burch, regarding notes for Receiver
                     K. Crawford.                                                                                0.25
               JLR Telephone call with Investor Victim, P. Wray, regarding notes for Receiver
                     K. Crawford.                                                                                0.25
               JLR Telephone call with Investor Victim, S. Weimer, regarding notes for
                     Receiver K. Crawford.                                                                       0.10
               CAM Telephone calls to and from Investors regarding claim questions on metals
                     as well as non-metals (2.5); continue working through the investor
                    confirmation forms that had corrections (2); work on completing other
                    Investors calculation forms (2).                                                             6.50
               JLR Telephone call with Investor Victim, S. Altman, regarding notes for Receiver
                    K. Crawford.                                                                                 0.25
               JLR Continue to prepare list of specific Investor Victims and their respective
                    notes requested by the Receiver K. Crawford.                                                 0.50
               AS   Cataloguing Amex statements on excel                                                         3.00
               AE   Review, revise, finalize, and process claims and send out claims to
                    Investors.                                                                                   7.50




                                                                                                             APP00012
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                         Page 13 of 40 PageID 5963

        Kelly Crawford Receivership -Metals.com                                                                        06/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1023977
       Matter 102 - Representation of Receiver


                                                                                                              Hours
                 AE    Review, revise, finalize and process claims and send out claims to investors.           5.00

 06/02/2021     JLR     Complete list of specific Investor Victims and their respective notes
                        requested by the Receiver. Provide the same to K. Crawford for review.                  1.00
                JLR     Interoffice conference with c. Morris regarding issue with Investor Victim
                        Couple, I. & B. Grubb, regarding Inadequate/unresponsive Investor
                        Confirmation documentation; Address how to compute non-metal and metal
                       Investor claim value without cooperation by the same.                                   0.75
                JLR    Answer call from Investor Victim, M. Peden, requesting status update and
                       claim value questions.                                                                  0.25
                JLR    Telephone call with Investor Victim Couple, R. & M., regarding their
                       Non-Metal Investment and specific Information needed by the Receiver, K.
                       Crawford, as to their Investment payments and banking; Provide answers of
                       same to K. Crawford.                                                                    0.50
                CAM    Telephone call with Investor B. Grubbs regarding his non-metal and metal
                       purchases and discuss what was needed on the metals side, as well as
                       confirm several details on the non-metals side, and brief conference with J.
                       Rolls regarding same.                                                                   0.60
                CAM    Telephone call with Investor D. Mendenhall regarding metals and
                       non-metals claim and detail incoming deposits; email to receiver regarding
                       same.                                                                                   0.50
                CAM    Receive and return various metals Investor calls and note file regarding
                      same.                                                                                    2.00
               CAM    Continue generating claim calculation forms for metals investors.                        3.50
               AE     Review, revise, finalize, and process claims and send out claims to
                      investors.                                                                               2.50
               PCL    Communications with K.Crawford and A. Spencer regarding extension for
                      Defendants reply(.2); communications with c. Park and K. Crawford
                      regarding Space X liquidation issues and related file revlew(.6); review file
                      regarding general case status(.3).                                                       1.10

06/03/2021     JSS  Conference call with Forensic Expert regarding making database available
                    to individual receivership defendants.                                                     0.25
               JSS Inter-office conference with Receiver regarding making database of
                    documents available to Receivership Defendants.                                           0.25
               CAM Telephone calls to and from various investors in connection with their metal
                   claims (1); work out claims that have issues, Including phone calls, emails
                   and letters sent (2.5); continue creating investor claim calculation forms
                   (3.5).                                                                                     7.00
               PCL Communications with D.Baer and K.Crawford regarding Maxim
                   Electrical(.3);communicatlons with K.Crawford regarding follow up Cadre
                   letter and related review (.3); communications with K.Crawford regarding
                   status of appraisal/motion to sell motions(.3); review A. Steinberg amex
                   purchase analysis and related review (.6);communications with J.McClay
                   regarding 19th contract and related revlew(.3).                                            1.80
               DBD    Continued prep of Complaint; emails and office conferences with legal                   2.40
                      assistant regarding locating addresses.




                                                                                                          APP00013
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                         Page 14 of 40 PageID 5964

        Kelly Crawford Receivership -Metals.com                                                                       06/26/2021
                                                                                                      Account No:     16125-102
                                                                                                       Invoice No:      1023977
        Matter 102 - Representation of Receiver




 06/04/2021     AE     Review, revise, finalize, and process claims and send out claims to
                       investors.                                                                              4.50
                CAM    Telephone calls to and from investors to work out various claim Issues
                       (3.5); revise non-metals spreadsheet and forward to Receiver (.5); continue
                       preparing claim calculation forms for Investors (3).                                    7.00
                DBD    Continued prep of Complaint.
                                                                                                               0.80
                PCL    Communications with A Spencer and K.Crawford regarding jewelry
                       turnover status and related file review.                                               0.40

 06/07/2021     JLR   Return call of Investor Victim, B. Revere, requesting status update as to her
                      Barrick Capital Investment and Receivership claim; Draft and send
                      subsequent email to B. Revere recapping the same as requested.                          0.50
                JLR Call to Non-Metals Investor Victim, L. Andersen, regarding the Receiver's
                      questions as to her Revo, LLC investment; Issues with contacting the same:
                      Address with c. Morris.                                                                 0.25
               JLR Return the call of Investor Victim, S. McCauley in response to his 6/6 email
                      correspondence to K. Crawford regarding movement of Receivership funds.                 0.50
               JSS Telephone conference with forensic expert to assist with database
                      preparation and tagging to present to Receivership Defendants.                          0.25
               JSS E-mail communications with Receiver and Co-Counsel regarding additional
                     parameters regarding delivery of database to Receivership Defendants.                    0.25
               AS    Research database to collect Information about commissions paid to
                     brokers.                                                                                 5.50
               CAM Work on non-metal claims spreadsheet, and contact several non-metal
                     investors to obtain additional information needed by the receiver, updated
                     the spreadsheet and sent emails to all non-metal claim holders confirming
                    the information collected (2); continue working on metals claims and
                    working with various investors on details and additional information that Is
                    needed and noting file regarding same (4).                                                6.00
               AE   Review, revise, finalize, and process claims and send out claims to
                    investors.                                                                                2.00
               PCL Communications with K. Crawford regarding Call Metrics demand and
                    related review of documents (.50);communications with J. Schwartz and
                    K.Crawford regarding P. Batashvili and related file
                    revlew(.60}communlcatlons with A Rule and K.Crawford regarding Call
                    Metrics document request(.2}; communications with J, Stafford and K.
                    Crawford regarding database lssues(.2); communications with K. Crawford
                    and/or S. Thomas regarding MagicStar and Cruz Issues and related
                    document review(.6); communications with K. Crawford regarding F.
                    McCarthy and related file revlew(.4).                                                    2.50
               MKW Legal research and memo law on disclosure of Ponzi schemes and
                    violations of Securities law in PPMs used by Defendants.                                 1.50
               DBD    Continued attention to prep of Complaint: office conferences with Receiver             1.40
                      and legal assistant

06/08/2021     JLR    Receipt and review of two voicemalls left by Investor Victim, ,J.
                      Raganswood, regarding confusion as to the claims process.                              0.25
               AE     Review, revise, finalize, and process claims and send out claims to
                      investors.                                                                             2.00
               JLR    Answer the call of Investor Victim, M. Strauss, requesting status update and
                      tax questions.                                                                       0.25
                                                                                                         APP00014
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                         Page 15 of 40 PageID 5965

        Kelly Crawford Receivership -Metals.com                                                                           06/26/2021
                                                                                                          Account No:     16125-102
                                                                                                           Invoice No:      1023977
        Matter 102 - Representation of Receiver


                AS     Research database to collect information on commissions paid to brol<ers.                   5.25
                JLR    Interoffice Conference with K. Crawford regarding Investor Victim, L.
                       Andersen's, question regarding the same's withdrawal payments regarding
                       Non-Metals Investment.                                                                      0.25


                KEW Communications with J. Stafford regarding document production and
                    review.                                                                                        0.50
                PKJ Pull and begin reviewing cases that may support the Receiver's Motion to
                    Compel defense counsel to reveal source of the retainer.                                       1.00

                CAM Work on claim calculation forms (3.5); receive and return phone calls from
                    investors who have not returned their claim forms and calculate their
                    allowed claim amounts (2.5); revise non-metals spreadsheet (.5).                              6.50
                PCL Communications with K. Crawford regarding B.Given/F.McCarthy response
                    and related file revlew(.1.1 ); review communications regarding potential
                    receivership defendant(.5); communications with J.Stafford and f<. Crawford


                                                                                          •
                    regarding database(.2).
                MKW Legal research and memo drafting 01      ::             7
                                                                                                                  0.50
                DBD    Continued revisions to complaint.                                                          1.00


06/09/2021      JLR Telephone call with Investor Victim, L. Andersen, regarding questions as to
                     Non-Metals Investment amount discrepancies; Provide answer to K.
                    Crawford.                                                                                     0.25
               JLR Receipt and review of email correspondence and subsequent voicemail of
                    Investor Victim, C. Foxpool, regarding returning the requisite Receivership
                    documents; Telephone call with Investor Victim.                                               0.25
               JLR Return the calls of Investor Victim, J. Raganswood, regarding confusion as
                    to status of Receivership claims process.                                                     0.10
               AE   Review, revise, finalize, and process claims and send out claims to
                    investors.                                                                                    2.50
               CAM Receive and return numerous investor calls regarding the upcoming claims
                   bar date and working through various claim Issues (2.5); Informal meeting
                                                                                                    ·.~
                   with team members regarding the compiled list of received investor
                   confirmation forms and how many are outstanding (.5); reviewing creditors'
                   claim forms In preparation of compiling claims chart (.5); follow-up on
                   non-metals creditors seeking additional information and documenting file
                   regarding same (1.5); finalize claim calculation forms for several resolved
                   metals claim Issues (.5).                                                                     5.50
               PCL Communications with K. Crawford and S. Thomas regarding Magic Star
                   background and related file review(.4); communications with K Crawford
                   regarding F.McCarthy amex charges and related file review(.5)                                 0.90

06/10/2021     AE  Review, revise, finalize, and process claims and send out claims to
                   investors.                                                                                    3.50
               MHS Email from Receiver regarding contacting                             regarding
                      {!           1* (.1 ); contacting Belinchenko's attorney regarding same

                    . ); conference with Receiver regarding same (.1 ).                                          0.40




                                                                                                             APP00015
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                        Page 16 of 40 PageID 5966

        Kelly Crawford Receivership -Metals.com                                                                      06/26/2021
                                                                                                     Account No:     16125-102
                                                                                                      Invoice No:      1023977
        Matter 102 - Representation of Receiver



                AS     Review database and gather Information about commissions paid to
                       brokers,                                                                               5.00
                 CAM Receive and return many phone calls from investors regarding their claim
                      forms and related issues, as well as preparing claim forms for newly
                      discovered investors (4.5); receive emails back from investors that requests
                      were sent to and respond to same (1); prepare spreadsheet of all creditor
                      claims and organize same (1.5).                                                        6.00
                 PKJ Review cases in support of Receiver's Motion to Compel defense counsel
                      to reveal source of retainer.                                                           1.60
                JLR Begin draft of Motion (Receiver's Motion Appointing Appraisers, Approving
                      Appraisals, and Setting Hearing Regarding Approval of Sale of Certain Real
                      Property) to Sell Two (2) Additional Philadelphia Properties; Locate and
                      review of appraisals and sale contracts necessary to the drafting of same.             1.25
                JLR Interoffice conference with K. Crawford regarding drafting of Letter to
                      Chase Bank regarding request of documents not previously produced to the
                      Receiver.
                JLR Receipt of and listen to Voicemail of Investor Victim, D. Burch, regarding               0.25
                     confusion as to the Receivership claims process and status of his claim.
                JLR Telephone call to Investor Victim, D. Burch, in response to his voicemail                0.25
                     questions regarding his Receivership claim and Its status.
                JLR Return the call of Investor Victim, J. Raganswood, in response to several                0.25
                     voicemails left by the same; Leave volcemall notifying her that the Receiver
                     is returning her calls and questions as to status of her claim in the
                     Receivership.
                                                                                                             0.10
                KEW DISCO document review for defendant production.                                          2.50
                JSS Review database In DISCO with associate in preparation for production to
                    parties in lawsuit.                                                                      0.50
                PCL Communications with K.Crawford and S. Thomas regarding Magic Star
                    issues and related file review and research(.8); communications with
                    K.Crawford regarding title commitment issues(.2).                                        1.00

06/11/2021     JSS  Inter-office conference with associate regarding status on database review.              0.25
               JLR  Draft Letter to JPMorgan Chase Bank, N.A. regarding compliance with the
                    previously served Receivership Orders seeking all banking records and
                    documents of Receivership Defendants and Relief Defendant; Prepare
                    corresponding Receivership Orders for enclosure with the same; Provide to
                    K. Crawford for review.                                                                 2.00
               JLR Continue drafting Receiver's Motion for Appointment of Appraisers,
                    Approval of Appraisals of Certain Real Properties, and Setting Hearing
                    regarding Approval of Sale as to two (2) Philadelphia Properties owned by
                    Relief Defendant Tower Equity, LLC.                                                     1.25
               MHS Call to opposing counsel for Bellnchenko per request of Receiver.                        0.20
               CAM Receive and return numerous phone calls and emails from Investors
                   regarding investor confirmation claim forms and assist with filling out the
                   forms (4); work with several non-metals investors to complete the
                   non-metals claim spreadsheet (1 ); work on preparing claim calculation
                   forms (2).                                                                               7.00
               AE  Review, revise, finalize, and process claims and send out claims to
                   investors.                                                                               1.75
               KEW Review files on DISCO for production to parties In lawsuit.                              1.75




                                                                                                        APP00016
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                         Page 17 of 40 PageID 5967

       Kelly Crawford Receivership -Metals.com                                                                       06/26/2021
                                                                                                     Account No:     16125-102
                                                                                                      Invoice No:      1023977
       Matter 102 - Representation of Receiver


06/14/2021      JLR    Perform Westlaw case law research to support argument that the Receiver
                       steps into the shoes of the Defendants as necessary for K. Crawford to
                       draft email response to Call Tracking Metrics; Draft aforementioned string
                       cite and provide to K. Crawford for review and use.                                    2.50



                CAM  Receive and return numerous investor calls concerning the claim
                    confirmation forms that are due on June 15th (4.5); finalize the creditors
                    claims and updated spreadsheet (.5); continue work on solving problems
                    with investors' claim forms and updating claim calculation worksheets (1.5).              6.50
                JLR Complete draft of Receiver's Second Motion for Appointment of Appraisers,
                    Approval of Appraisals of Certain Real Properties, and Setting Hearing
                    Regarding Approval of Sale; Complete draft of respective Order granting
                    the same; Prepare the Appendix to the aforementioned Motion.                             0.75
                AE  Review, revise, finalize, and process claims and send out claims to
                    Investors.                                                                               3.25
                KEW DISCO document review and tagging for defendant production.                             10.00

                PCL    Communications with K. Crawford, et al regarding Cadre information;
                       review docl<et and outstanding motions.                                               2.00

06/15/2021      JLR   Continue preparation of the Appendix and corresponding exhibits (i.e. Sale
                      Agreements and Appraisals) to the Receiver's Second Motion for
                      Appointment of Appraisers, Approval of Appraisals of Certain Real
                      Properties, and Setting Hearing Regarding Approval of Sale.                            0.75
               AS     Gather information from database regarding commissions paid to brokers.                6.00
               CAM Receive and return large volume of investor calls and emails concerning
                     Investor Confirmation claim forms and assisting in getting them completed
                     and returned by the end of the day deadline (5); work out many of the
                     investor claim forms that required adjustments or amendments (2).                       7.00
               AE    Review, revise, finalize, and process claims and send out claims to
                     investors.                                                                              4.00
               KEW Finalize DISCO document review for defendant production.                                  3.25
               Pl<J Review Defendants' Response to Receiver's Motion for Show Cause
                     Hearing to hold Batashvili in Civil Contempt and Receiver's Reply brief in
                     support of Show Cause Motion for purpose of assisting with additional
                     research in support of Reply brief.                                                     0.75
               PKJ Research and review caselaw authority in support of the argument that
                    once Receiver makes a prlma facle case of showing a violation of the
                     Receivership Order, the burden shifts to the Defendant to explain why he
                    was unable to comply with the Receivership Order, and draft insert to be
                    included in Receiver's Reply brief in support of show cause motion.                      1.25
               PKJ Research and review caselaw authority in support of the argument that
                    persons who fail to cooperate with a Court appointed Receiver can be held
                    in civil contempt, and prepare insert to be included in Receiver's Reply brief
                    In support of show cause motion.                                                        2.50
               PCL Communications with K. Crawford, D. Baer, and J. Hamel regarding
                    Philadelphia properties and related file review (.30) Communications with J,
                    Buffet, R. Foelber and K. Crawford regarding outstanding motions, case
                    status and related file review (1.6)                                                    1.60




                                                                                                        APP00017
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                           Page 18 of 40 PageID 5968

        Kelly Crawford Receivership -Metals.com                                                                        06/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1023977
        Matter 102 - Representation of Receiver




 06/16/2021     JLR  Complete preparation of the Appendix and corresponding exhibits (I.e. Sale
                     Agreements and Appraisals) to the Receiver's Second Motion for
                     Appointment of Appraisers, Approval of Appraisals of Certain Real
                     Properties, and Setting Hearing Regarding Approval of Sale; Provide the
                     same to K. Crawford for final review.                                                      1.25
                JLR Answer call from Investor Victim, G. Acker, requesting a status update,
                     however, later determined he never received nor completed required
                     Investor Confirmation Form; Interoffice conference with C. Morris to confirm
                    non-receipt and remedy to the same; Subsequent call to Investor Victim, G.
                    Acker, to remedy moving forward as to his claim in the Receivership.                       0.50
                JLR Receipt of volcemail from Investor Victim, G. Acker, regarding non- receipt
                    of emailed Investor Confirmation; Return the call of same to confirm proper
                    receipt of Investor Confirmation to be completed.                                          0.25
                JLR Interoffice conference with L. Thompson regarding timestamp issue as to
                    Investor Victim, G. Acl<er's, late Investor Confirmation submission.                       0.25
                CAM Continue working out claim Issues on investors' confirmation claim forms
                    and preparing claim calculation forms (4.5); receive and return various
                    phone calls and emails from Investors to get investor confirmation forms in (2).           6.50

                JLR    Receipt of and listen to voicemail from Investor Victim, S. McCauley,
                       regarding concerns as to his Investor Claim status forwarded by K.
                       Crawford to respond to the same.
                                                                                                               0.25
               PKJ     Review and analysis of cases cited by Defendants in Response to
                      Receiver's Motion for Show Cause hearing to hold Batashvili In contempt of
                      court for purpose of distinguishing same, and draft insert regarding same to
                      be included in Receiver's Reply brief in support of motion for show cause
                      hearing.                                                                                 1.75
               PKJ    Review caselaw relating to the issue of non-parties being held in civil
                      contempt of court for failing to comply with the receivership order per the
                      request of P. Lewis.                                                                     1.00
               PCL    Communications with K. Crawford and related file review regarding
                      outstanding motions, call metrics, et al strategy.                                       1.20

06/17/2021     JLR     Answer the call of Investor Victim, C. Harris, requesting status update
                       regarding his and his wife's claims in the Receivership; Provide an update
                       as to the same.                                                                        0.25
               JLR     Receipt of return voicemail from Financial Advisor, B. Scott, on behalf of an
                       Investor Victim client who has yet to submit an Investor Confirmation;
                       Confer with K. Crawford as to untimely filing of Investor Confirmations prior
                       to return of same.                                                                     0.25
               JLR    Subsequent call with Financial Advisor of Investor Victim client, W. Heims,
                       regarding late submission of Investor Confirmation; Draft and send email
                      with copy of the to-be completed Investor Confirmation to the same.                     0.25
               JLR    Return the call of Investor Victim, S. McCauley, regarding prior voicemail
                      raising concern as to his Investor Confirmation.                                        0.25
               CAM    Receive and return many phone calls and emails regarding Investor
                      Confirmation Claims (2); work on preparing claim calculation forms for
                      Investors (5).                                                                          7.00
               AS     Reviewed TMTE boxes and catalogued broker Information.                                  3.25



                                                                                                           APP00018
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                           Page 19 of 40 PageID 5969

        Kelly Crawford Receivership -Metals.com                                                                        06/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1023977
        Matter 102 - Representation of Receiver

                PKJ     Review Receiver's Reply Brief in support of Motion to Compel Defendants'
                       Attorneys to disclose the source of retainer; continue review and analysis of
                       caselaw pertaining to the issue of whether attorney-client privilege serves
                       as a legal basis for Defendants' Attorneys to protect the source of their
                       retainer from being disclosed to the Receiver; draft insert to be included in
                       Reply brief.                                                                             2.25
                PKJ    Research issue of whether Defendants' argument of possible rlsl< of
                       harassment of third-parties Is a legal basis for not disclosing source of
                       retainer for purpose of including favorable language in Receiver's Reply
                       brief in support of Motion to Compel.                                                    1.25

06/18/2021      CAM    Receive and return numerous emails and phone calls from investors and
                       wori< out claim issues (2); continue preparing claim calculation forms for
                       investors (3).                                                                          5.00

                AS     Reviewed boxes of documents from office of Simon Batashvili's and Lucas
                       Asher's for possible leads on assets                                                    3.00
                PKJ    Review and analysis of cases cited in FTC v. Assail to determine how the
                       retainer information was obtained by the Receiver or government for
                       purpose of incorporating case authority in support of arguments raised in
                       Receiver's Reply in support of Motion to Compel.                                        1.60

               PCL    Review draft of Reply In Support of Motion to Compel and related
                      communications with K. Crawford regarding same; communications with k.
                      Crawford regarding SRO order provisions.                                                 1.00

06/21/2021     CAM    Receive and return various phone calls from investors (1); continue
                      preparing claim calculation forms (4).                                                   5.00
               PKJ    Research Issue of when are non parties subject to a finding of civil contempt
                      of court for failure to comply with a restraining order and what it means to
                      be "In active concert or participation" with the defendants, for purpose of
                      finding case authority in support of Receiver's position; confer with Peter
                      Lewis regarding issues involved relating to nonparties and additional
                      research to be conducted relating to same.                                               2.25
               PCL    Communications with K.Crawford regarding                            nd related
                      research(.5); communications with A. Spencer and K. Crawford regarding
                      Batashvili deposition(.2).                                                               0.70

06/22/2021     CAM  Receive and return many phone calls and emails concerning claims and
                    calculations of allowed values (2); continue preparing claim calculation
                    forms (4).                                                                                6.00
               PKJ Conduct additional research and review case law on the Issue of whether
                   non-parties can be held in contempt of court for failing to abide by the
                   SRO/preliminary injunction order and what It means to be in privity with the
                   defendants pursuant to Fed.R.Clv.P. 65(d). Rule 65(d).                                     2.50
               KEW Conference with J. Stafford regarding review of DISCO document
                   production; telephone conference with forensic expert regarding same; final
                   review of tagged DISCO documents.                                                          1.25
               PCL Communications with A Spencer regarding S. Batashvlll deposition
                   (.2);communications with J. Stafford and K. Crawford regarding database
                   (.2).                                                                                      0.40
               JSS Review database production prepared by Katherine W. for production of
                   documents to defendants                                                                    0.50



                                                                                                           APP00019
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                         Page 20 of 40 PageID 5970

        Kelly Crawford Receivership -Metals.com                                                                      06/26/2021
                                                                                                     Account No:     16125-102
                                                                                                      Invoice No:      1023977
       Matter 102 - Representation of Receiver



 06/23/2021     JLR  Answer call from Investor Victim, W. Eacker, regarding status update;
                     Provide the same.                                                                        0.25
                JLR Revise email correspondence regarding the Receiver's production of
                     documents and access to Disco database to Plaintiff and respective
                    counsel; Provide the same to J. Stafford for final review and service of the
                    same.                                                                                     0.50
                CAM Continue contacting investors who have completed claim forms that need
                    clarification (2); research DISCO e-discovery for metals.com to locate
                    missing information for a numerous investor claims that have no back-up
                    documentation (2); review IC form for R. Brown and draft letter for
                    Receiver's signature to to deny claim based on IC form received (.7);
                    receive and return calls and emails from investors checking on the status of
                    the case and their claims (1.5); continue creating claim calculation forms
                    (1.5).                                                                                   7.70

                JLR    Interoffice conference with L. Thompson regarding issue as to prepared
                       Exhibits for the Receiver's Motion to Sell Two Additional Properties;
                       Address the same.                                                                     0.25
                JLR    Interoffice conference with K. Crawford regarding review and subsequent contact
                       of Investor Victims with pending metals at Bayside.                                   0.25

                LMS   Correspondence with Kelly Crawford regarding in-process transactions with
                      Bayside Metals; Review notes to identify remaining unresolved accounts.                1.00
               PCL    Communications with J. Stafford, K., Crawford, regarding database(.2);
                      communications with K. Crawford regarding Forge/C.Park communications
                      and related file review.                                                               0.50
               JSS    Review Disco database tagging done by K. Whitlock in preparation for
                      production to Plaintiffs and Defendants.                                               2.00
               JSS    Draft proposed letter to Plaintiffs and Defendants regarding production of
                      documents from Receiver's database.                                                    0.50
               JSS    Telephone communication with Receiver's expert regarding production of
                      documents to Plaintiffs/Defendants.                                                    0.25

06/24/2021     CAM    Telephone calls to various investors to clarify claim information (1.2);
                       research DISCO files for purchase documents on investors who cannot
                       locate their information (2.8).                                                        4.00
               JLR    Answer the call of Investor Victim, P. Gilbert, regarding return of call for
                      claim information; Provide to C. Morris.                                               0.25
               PKJ    Continued review and analysis of caselaw on the issue of what it means to
                      be In privily with the defendants pursuant to Fed.R.Civ.P. 65(d) for purpose
                      of finding nonparties in civil contempt of court for failure to comply with
                      restraining orders or Injunctions; draft email memo to Peter Lewis and Kelly
                      Crawford regarding same.                                                              1.50
               PCL    Review email regarding transmittal of Metals files to opposing counsel(.2):
                      communications with K. Crawford and J.Stafford regarding Metals files(.2):
                      communications with P.Jesani and K.Crawford regarding Injunction Issues,
                      review                    and follow up communications to S.
                      Thomas(.9);communicatlons with B.Glven regarding deposition of
                      F.McCarthy(.2); communications with K.Crawford regarding privilege
                      notice(.2); communications with K.Crawford, et al., regarding Metals
                      pricing(.2).                                                                           1.90
               PKJ    Review and revise
                                                                                                             0.20

                                                                                                         APP00020
         Case 3:20-cv-02910-X Document 316 Filed 09/22/21                          Page 21 of 40 PageID 5971

      Kelly Crawford Receivership -Metals.com                                                                       06/26/2021
                                                                                                   Account No:      16125-102
                                                                                                    Invoice No:       1023977
      Matter 102 - Representation of Receiver



06/25/2021    JSS    Review database ahead of production and communications with expert and
                     Receiver regarding same.                                                                0.50
              JSS   Edit production database set ahead of production of documents.                           1.00
              JLR   Answer call from Investor Victim, c. Harris, regarding his and wife's
                    respective Investor Claims; Provide to C. Morris.                                       0.25
              PCL   Communications with K.Crawford regarding Forge conference call with
                    C. Park(.1 ), Zoom call with C. Park regarding Space X lnvestment(.4 )follow
                    up with I<. Crawford regarding same(.2); communications with S. Thomas
                    and K. Crawford regarding Magic Star document production request(.3):
                    communications from B. Given regarding F. McCarthy deposition(.1);
                    review draft fourth Receiver Report and related communications with K.
                    Crawford(.4).                                                                          1.50
                    For Current Services Rendered                                                         322.70    57,908.25




                                                                                                       APP00021
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 22 of 40 PageID 5972




      Scheef & Stone, L.L.P.
      500 N. Akard, Suite 2700
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                                                      SCHEEF 81 STONE
      Dallas, Texas75201                                    fl(}     eoUNGEI.




                                                                   INVOICE

     Kelly Crawford Receivership - Metals.co                                                        Statement Date:          07/26/2021
                                                                                                        Account No.          16125.102
                                                                                                        Invoice No.            1026638




       Matter 102 - Representation of Receiver
                                                                                                                 DRAFT STATEMENT




                                                                                                                  Hours
06/28/2021      JLR    Answer call from Investor Victim, D. Erickson, requesting status update as to
                       June 15 Investor Claim; Answer the same.                                                       0.25
                JLR    Return call to Investor Victim, D. Erickson, to confirm receipt of Investor
                       Confirmation by extension date of June 15.                                                     0.25
                JLR    Answer the call of Investor Victim, D. Burch, requesting status update and
                       confusion as to his ability to sell his remaining metals as they are not subject
                       to the Court's TRO.                                                                            0.25
               AS      Reviewing and cataloguing broker commissions on excel and word.                                3.00
               AE      Review, revise, finalize, and process claims and send out claims to investors.                 2.00
               PCL     Communications with D.Baer and K. Crawford regarding motion to sell status.                    0.40

06/29/2021     JLR   Review and prepare contact information for Investor Victims with outstanding
                     Bayside metals; Preparation for calling the same to transfer or liquidate the
                     metals.                                                                                          0,75
                JLR Return the voicemail of Investor Victim, J. Raganswood, requesting status
                     update as to her Investor Claim.                                                             0.25
               JLR Return the call of Investor Victim, D. Grady, regarding status update as to his
                     Investor Claim and confusion as to his Entrust account; Provide the same to
                    C. Morris.                                                                                    0.50
               CAM Review emails that came in over the weekend and respond to same (.5);
                    telephone call with Investors regarding late claims to be submitted (.5); review
                    additional material received from Investor C. Savello, discuss claim with
                    Receiver, and finalize claim value (.5); review expert metal values Receiver
                    obtained and go over additional questions expert has with respect to the
                    metals (.5) discuss with team strategy to prepare for final round of claim
                    calculation forms once expert values are placed on the claims (.5); begin work
                    on inserting expert coin values Into database (3.5).                                          6.00
               JLR Receipt and review of email from Investor Victim couple, M. and K. Smith,
                    detailing Issues with Information flowing from the Entrust Group regarding their
                    past and present Investment.                                                                  0.25
               AS   Reviewing and cataloguing broker commissions on excel and word.                               3.00
               AE   Review, revise, finalize, and process claims and send out claims to Investors.                2.00
               PCL Communications with J. Stafford, D. Spitzer and K Crawford regarding status


                                                                                                                APP00022
         Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                  Page 23 of 40 PageID 5973


       Kelly Crawford Receivership - Metals.com                                                                            07/26/2021
                                                                                                           Account No:     16125-102
                                                                                                            Invoice No:      102663B
       Matter 102 - Representation of Receiver




                                                                                                                  Hours
                      reports received from D. Spitzer and related review(.4); communications with
                      K.Crawford and A Spencer regarding Batashvlli deposition dates(.1 );receipt of
                      order setting hearing on motion to compel and related file review and
                      communications with K. Crawford and J. Stafford(.5).                                         1.10

06/30/2021    JLR       Review allegations alleged by Investor Victim Couple, K. and M. Smith,
                        regarding Entrust Group; Provide the correspondence/allegations to K.
                        Crawford for substantive answer to the same.                                               0.25
              JLR       Draft and send email to Investor Victim, R. Houle, In lieu of telephone call (no
                       telephone Information found) detailing his pending Bayside metals and
                       requesting action for the same.                                                             0.25
              JLR      Answer call from Investor Victim, D. Burch, regarding confusion as to
                       Receivership claim and present metals with New Direction; Address the same.                 0.25
              JLR      Draft and send email to Investor Victim, P. Ordway, In lieu of telephone call
                       (no telephone Information found) detailing his pending Bayside metals and
                       requesting action for the same.                                                             0.25
              JLR      Receipt of and listen to subsequent voicemall of Investor Victim, D. Burch,
                       regarding conversation/confusion with New Direction and Receivership claim.                 0.25
              JLR      Telephone call to Investor Victim, G. Newsom, regarding his pending Bayside
                       metals and requesting action for the same; Draft and send subsequent email
                      to Investor Victim detailing the same.                                                       0.50
              JLR      Leave volcemall with Investor Victim, J. Schwab, regarding his pending
                       Bayside metal and requesting action for the same; Draft and send subsequent
                      email to the Investor Victim detailing the same.                                             0.25
             JLR      Leave voicemall for Investor Victim, J. Kelly, regarding his pending Bayside
                      metals and requesting action for the same; Draft and send subsequent email
                      to the Investor Victim detailing the same.                                                  0.25
             JLR      Draft and send email to Investor Victim, L, Schwartz, In lieu of telephone call
                      (no telephone information) detailing her pending Bayside metals and
                      requesting action for same.                                                                 0.25
             CAM      Review email from attorney for Investor D. Ring and respond to same; memo
                     to file regarding same (.4); review defendants' records for missing Information
                      on a number of claims (2.5); review list of metal values received from expert
                     and detail answers to various questions raised as well as comprising a list of
                     questions for the expert as well (2.1 ); continue adding expert values to
                     investor master database (2); teleconference with Receiver, J, Buffa and D.
                     Samuelson (,5)                                                                               7.50
             JLR     Telephone call to Investor Victim, W. Eacker, regarding his pending Bayside
                     metals and requesting action for the same; Draft and send subsequent email
                     to Investor Victim detailing the same.                                                       0.50
             JLR     Draft and send email to Investor Victim, S, Weston, in lieu of telephone call
                     (bad telephone Information) detailing his pending Bayside metals and
                     requesting action for same.                                                                  0.25
             JLR    Telephone call to Investor Victim, T. Doub, regarding his pending Bayside
                    metals and requesting action for the same; Draft and send subsequent email
                    to Investor Victim detailing the same.                                                        0.25
             JLR    Receipt and review of email from Investor Victim, G. Newsom, providing
                    written Instruction as to Ills Bayside metals; Draft and send responsive email
                    to the same.                                                                                  0.25 ·
             JLR    Receipt and listen to subsequent return volcemalls from Investor Victim, J.
                    Raganswood, requesting update as to status of Investor Claim and Claim
                    Report.                                                                                      0.25

                                                                                                               APP00023
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                            Page 24 of 40 PageID 5974


        Kelly Crawford Receivership - Metals.com                                                                        07/26/2021
                                                                                                         Account No:    16125-102
                                                                                                          Invoice No:     1026638
        Matter 102 • Representation of Receiver




                                                                                                                Hours
                JSS    E-mail communication with Receiver and Counsel for Defendant regarding
                       transmission of production.                                                               0.25
                JSS    Communication with co-counsel P. Lewis regarding review of status reports
                       filed In California matter relating to Receivership Defendant entities.                   0.25
                PCL    Communications with K.Crawford, J. Buffa, et al., regarding metals Issues.                0.60

 07/01/2021     JLR    Interoffice correspondence with K. Crawford regarding email correspondence
                       from Investor Victim Couple, M. & K. Smith, regarding allegations related to
                       Entrust Group and subsequent review by K. Crawford of the same.                           0.25
                JLR Receipt and review of email from Investor Victim, J. Schwab, providing written
                       Instruction as to his Bayside metals; Draft and send responsive email to the
                       same.                                                                                     0.25
                JLR Receipt of voicemall from Investor Victim, G. Scott, requesting return call as to
                      his Receivership Claim; Attempt to leave voicemall; Draft and send
                      subsequent email confirming receipt of volcemall but Inability to return call to
                      bad telephone number.                                                                      0.25
                CAM Receive and return phone calls and emails from investors (.5); team meeting
                      regarding upcoming claims deadlines (.5); begin Inserting expert metal values
                      Into investor value database for Investors 1-499 (5); update non-metals
                      database (.5).                                                                             6.50
               JLR Telephone call with Investor Victim, G. Scott, to provide status update as to
                     the Receivership and explain the upcoming Claims Report.                                    0.50
               JLR Receipt of voicemall from Investor Victim, R. Rhyne, requesting status update
                     and confusion as to the new timeline of the Claims Report; Return call.                     0.25
               JLR Answer call from Investor Victim, M. Strauss, to explain no need for Receiver
                     approval to liquidate metals at Direct Trust IRA; Provide status update
                     regarding the same.                                                                        0,50
               JLR Receipt of volcemail from Investor Victim, W. Eacl<er, In response to my
                     request for written instruction as to his pending Bayside metals; Attempt to
                    leave voicemall (voicemall full); Draft and send responsive email detailing the
                    same.                                                                                       0.25
               JLR Answer call from Investor Victim, R. Houle; Explain the Receiver's request for
                    written Instruction as to his pending Bayside metals; R. Houle will follow-up
                    with his decision.                                                                          0.50
               PCL Communications with K. Crawford and J. Stafford regarding D. Spitzer status
                    filings and related review of same-(.6); communications with K Crawford
                    regarding rullngs on motion to withdraw and related review of rullngs(.5).                  1. 10

07/02/2021     JLR     Receipt of responsive voicemail from Investor Victim, R. Rhyne, regarding
                      prior telephone call; Return call and provide status update and answer
                      questions as to the Claims Report.                                                        0.50
               JLR    Draft and send subsequent email to Investor Victim, R. Houle, providing the
                      requested pending Bayside metals Information and again explaining the
                      Receiver's request for written Instruction as to the same.                                0.25
               JLR    Draft and send subsequent email to Investor Victim, W. Eacl<er, providing the
                      requested pending Bayside metals information and again explaining the
                      Receiver's request for written Instruction as to the same.                                0.25
               JLR    Answer return call from Investor Victim, W. Eacl<er, to discuss he and his
                      wife's decision as to the pending Bayside metals and explain that the same
                      must be put Into writing and sent to the Receiver                                         0.50
               JLR    Receipt of voicemall from Investor Victim, R. Kolbow, regarding status update
                      as to the Receivership; Return call.                                                     0.25

                                                                                                             APP00024
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                             Page 25 of 40 PageID 5975


        Kelly Crawford Receivership - Metals.com                                                                        07/26/2021
                                                                                                         Account No:    16125-102
                                                                                                          Invoice No:     1026638
        Matter 102 - Representation of Receiver




                                                                                                                Hours
                CAM     Meet with team on metal values and strateglze for preparing Claims Report
                        (.5); continue working on putting expert metal values Into database (3.5).               4.00

07/06/2021      ABS   Discuss with Kelly Crawford case status and upcoming hearing regarding
                      motion to compel and need for research regarding receivership case law (.3)                0.30
                CAM Review emails and phone calls received from Investors over the weekend (.5);
                     draft letter to Investors In anticipation of sending out claim calculation forms
                     along with the Receiver's Claims Report and forward to Receiver with
                     additional comments (1); generate merged labels for all Investors (.5); finish
                    second batch of claim calculatlons for claims 500-899 (5).                                   7.00
               JLR Receipt of responsive email from K. Crawford regarding the Receivership's
                     inability to comply with Investor Victim, W. Eacker's, specific funds request as
                    to his pending Bayside Metals; Draft and send email to Investor Victim, W.
                    Eacker, informing him of the same and requesting revised written Instructions
                    as to the pending Bayside metals.                                                            0.75
               JLR Receipt and listen to volcemall from N. Jones regarding my prior voicemail as
                    to her husband Investor Victim, R. Jones, pending Bayside metals.                            0.25
               JLR Receipt and listen to of volcemail from wife of Investor Victim, J. Kelly,
                    regarding my prior volcemall as to her husband's pending Bayside metals and
                    detailing her power of attorney status.                                                      0.25
               JLR Receipt and review of ema!I from Investor Victim, L. Minehart, requesting
                    status update as to his Receivership claim.                                                 0.25
               AS   Reviewed Disco for leads on tower equity financial deailngs.                                3.50
               PCL Communications with K. Crawford regarding                                                    0.40

07/07/2021     JLR      Draft and send responsive email to Investor Victim, M. Radney, providing her
                        with the current court-ordered Receivership timellne and status update.                 0.25
               JLR      Return the call of Investor Victim, N. Jones, regarding her husband Investor
                        Victim, R. Jones, pending Bayside metals.                                               0.25
               JLR     Answer return call from Investor Victim, S. Kelly, regarding her husband's
                        pending Bayside metals and power of attorney as to the requested written
                       instructions; Confirm power of attorney with K. Crawford; Resend email to
                       Investor Victim detailing the same.                                                      0.75
               JLR     Receipt and review of email from Investor Victim, M. Radney, regarding my
                       prior status email and her continued confusion; Draft and send responsive
                       email notifying her that she can always call the Receivership to address
                       questions or concerns.                                                                   0.25
               ABS     Research case law regarding attorney's obligation to provide Information about
                      the source of a retainer to a receiver (2); discussion with Kelly Crawford
                       regarding subordination of claims and status of claims report (.2)                       2.20
               JLR    Answer call from Investor Victim, M. Peden, requesting status update as to his
                      clalm In the Receivership.                                                                0.25
               CAM    Receive and return phone calls from investors regarding status of the case (1 );
                      work on adding expert metal values in to database 900-1750 (6).                           6.00
               AS     Continued reviewed of Disco for leads on tower equity financial deallngs.                 2.75
               JLR    Receipt and review of email correspondence from Investor Victim, J. Kelly,
                      providing written Instruction as to his pending Bayside metals; Provide the
                      same to K. Crawford.                                                                      0.25
               PCL    Communications with E. Planner, K.Crawford, D. Stoumbos, R. Foelber, et al.,
                      regarding document review and 7/22/21 hearing attendance(.4);
                      communications with K.Crawford, R.Foelber, J. Buffa regarding various
                      counsel for defendants(.3); communications with K. Crawford regarding

                                                                                                             APP00025
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 26 of 40 PageID 5976


         Kelly Crawford Receivership - Metals.com                                                                          07/26/2021
                                                                                                            Account No:    16125-102
                                                                                                             Invoice No:     1026638
        Matter 102 - Representation of Receiver




                                                                                                                   Hours
                        Motion to Compel research(.6);communicatlons with J.McClay and K.
                        Crawford regarding E. Penn property offer(.3).                                              1.60

 07/08/2021     JLR       Receipt and listen to of voicemail from G. Hayes requesting status update as
                          to his Mother Investor Victim, J. Hayes', Receivership claim.                             0.25
                JLR       Return the call of G. Hayes to provide Receivership status update as to his
                         Mother, J. Hayes, claim; Draft and send subsequent email providing the same.               0.50
                JLR      Receipt and review of email regarding Investor Victim, A. Bell, regarding
                         unauthorized IRA and Receivership claim.                                                   0.25
                JSS      Telephone conference with IT expert regarding questions Receiver received
                         from CFTC regarding documents produced.                                                    0.25
                JSS      Draft and send Receiver answers to CFTC regarding documents Receiver
                         produced.                                                                                  0.50
                JLR      Return telephone call of Investor Victim Couple, J. & A. Bell, regarding several
                         questions and concerns as to their respective Receivership claims, Entrust
                         accounts, and Receivership Status; Send subsequent email recapping the
                        same; Confirm with C. Morris regarding Issue as to J. Bell's Receivership
                        claim.                                                                                      1.75
                JLR     Return the call of Investor Victim, s. Kelly, regarding her husband's pending
                        Bayside metals; Confirmed receipt of the written Instruction and Inquired as to
                        receipt of email from K. Crawford; Leave voicemail.                                         0.25
                JLR     Receipt and review of email correspondence from Investor Victim, R. Houle,
                        providing written Instruction as to his pending Bayside metals; Provide to K.
                        Crawford.                                                                                  0.25
                JLR     Draft and send responsive email to Investor Victim, R. Houle, confirming
                        receipt of pending Bayside metals instructions and answering his
                       question/confusion as to the discrepancy in his origlnal Investment price and
                       estimated Investment price.                                                                 0.25
               JLR     Receipt and review of email correspondence from Investor Victim, T. Doub,
                       providing written Instructions as to his pending Bayside metals; Provide to K.
                       Crawford.                                                                                   0.25
               JLR     Draft and send responsive email to Investor Victim, T. Doub, confirming
                       receipt of his written Instructions for his pending Bayside metals and altering
                       him to a future correspondence from K. Crawford regarding the same.                         0.25
               JLR     Draft Notice of Sale and Hearing as to the six (6) Philadelphla, PA properties
                      as required by 28 USC Section 2001.                                                          0.50
               JLR    Contact Philadelphla Inquirer regarding a quote to run July weekend Notice of
                      Sale and Hearing as to the sale of the 6 Philadelphia, PA real properties.                   0.25
               ABS    Update case law for equity receivership distribution and subordination of
                      creditors to Fifth Circuit (1.5)                                                             1.50
               CAM    Finalize the expert metal values into the last spreadsheet of Investor claims
                      (6.5),                                                                                       6.50
               JLR    Interoffice conference with K. Crawford regarding discrepancies in Investor
                      Victim, L. Andersen's, Non-Metal Investment Information; Review email
                      correspondence from K. Crawford regarding the same.                                          0.25

07/09/2021     JLR    Receipt of and listen to volcemail from Investor Victim, R. Reisner, requesting
                      status update.                                                                               0.25
               JLR    Draft and send subsequent email to Investor Victim, L. Andersen, notifying her
                      that I am unable to reach her by telephone and need to speak with her
                      regarding her Tower investment and the monies paid from the same as the
                      Information Is necessary for computation of her Non-Metal claim.                            0.25

                                                                                                                APP00026
  Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                   Page 27 of 40 PageID 5977


Kelly Crawford Receivership - Metals.com                                                                            07/26/2021
                                                                                                     Account No:    16125-102
                                                                                                      Invoice No:     1026638
Matter 102 - Representation of Receiver




                                                                                                            Hours
        JLR         Return the call of Investor Victim, R. Reisner, to provide a requested status
                    update as to her claim in the Receivership; Draft and send subsequent email
                    to R. Reisner recapping the same for her records/reminder.                               0.50
       JLR          Responsive telephone call to Investor Victim, N. Jones, regarding her
                   husband's pending Bayside metals.                                                         0.25
       JLR         Draft and send follow-up email to Investor Victim, P. Ordway, regarding
                   request for written Instructions as to pending Bayside metals.                            0.25
       JLR         Draft and send follow-up email to investor Victim, S. Weston, regarding
                   request for written instructions as to pending Bayside metals.                            0.25
       JLR         Draft and send follow-up email to Investor Victim, L. Schwartz, regarding
                   request for written instructions as to pending Bayside metals.                            0.25
       JLR         interoffice conference with K. Crawford regarding review of the Notice of Sale
                  and Hearing as to the six (6) Philadelphia Properties to confirm addresses and
                  sales prices and to contact the Philadelphia Inquirer regarding to run for 7/16
                  weekend.                                                                                   0.25
       JSS        lnter.. offlce conference with Receiver regarding privileged documents review.             0.25
       JSS        Inter-office conference and e-mail to K. Whitlocl< regarding assignment to
                  search, tag and review privileged documents;                                               0.25
       JLR        Telephone call to Investor Victim, s. Gaw, requesting written instructions as to
                  his pending Bayside metals; Draft and send subsequent email requesting the
                 same.                                                                                       0.25
       JLR       Telephone call to Investor Victim, K. Miller, requesting written instructions as
                 to her pending Bayside metals; Draft and send subsequent email requesting
                 the same.                                                                                  0.25
       JLR       Telephone call to Investor Victim, S. Quandt, requesting written instructions as
                 to his pending Bayside metals; Draft and send subsequent email requesting
                 the same.                                                                                  0.25
      JLR        Return call to Investor Victim, R. Houle, altering him to the email
                 correspondence from Bayside metals trying to reach him to confirm a shipping
                 address for his Bayside metals; Leave voicemail.                                           0.25
      JLR        Receipt and review of email correspondence from Investor Victim, S. Quandt,
                providing written Instructions as to his pending Bayside metals; Provide to K.
                Crawford; Draft and send responsive email to S. Quandt confirming receipt.                  0.25
      JLR       Telephone call to investor Victim, L. and P. Simpson, requesting written
                instructions as to their pending Bayside metals; Unable to leave voicemail (bad
                number).                                                                                    0.25
      JLR      Contact the Philadelphia Inquirer Legal Notice Department regarding the quote
               for and tlmeframe of the Notice of Sale and Hearing as to the six (6)
               Philadelphia real properties; Draft and send subsequent email to the same
               with the attached word document.                                                             0.75
      JLR      Answer telephone call from Investor Victim, S. Gaw, regarding request for
               written Instruction as to his pending Bayside metals; Answer questions as to
               the Receivership generally.                                                                  0.50
      JLR     Answer call from Investor Victim, s. Quandt, to address confusion as to next
              steps in receipUdelivery of pending Bayside metals.                                           0.25
      JLR     Receipt and review of email correspondence from Investor Victim, S. Gaw,
              providing written instructions as to his pending Bayside metals; Provide to K.
              Crawford.                                                                                    0.25
      JLR     Telephone call with Investor Victim, L. Andersen, to discuss the deviations in
              Tower Investment payments received; Draft and send summary of the same
              to K. Crawford.                                                                              0.50
      CAM     Receive and return two Investor calls (.2); prepare memo to file regarding

                                                                                                         APP00027
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                Page 28 of 40 PageID 5978


       Kelly Crawford Receivership - Metals.com                                                                            07/26/2021
                                                                                                            Account No:    16125-102
                                                                                                             Invoice No:     1026638
       Matter 102 - Representation of Receiver




                                                                                                                   Hours
                    Investor (.3); coordinate with team on strategy on finalizing claims (.5); go over
                    the database values again and Identify the last remaining coin values needed
                    and email to Receiver regarding same (2); research DISCO to locate missing
                    claim Information for many Investors (2); work out claim Issues for various
                    investors (1 ).                                                                                 6.00
                AS  Reviewed broker Information on Disco to form database of victims of brokers
                    on excel.                                                                                       5.50
                KEW Conference with J. Stafford regarding new production of documents; review
                    DISCO database for new production set.                                                          2.25

07/12/2021      JLR      Receipt and review of email correspondence from Investor Victim, W. Eacker,
                         providing his written Instructions as to his pending Bayside metals; Provide to
                         K. Crawford.                                                                               0.25
                JLR      Draft and send responsive email correspondence to Investor Victim, W.
                         Eacker, confirming receipt of his written Instructions as to his pending Bayside
                         metals and altering him to shipment email from Bayside.                                    0.25
                JLR     Answer call from Investor Victim, G. Dunphy, to address confusion regarding
                        his Investor Confirmation and claim In the Receivership; Provide status
                        update.                                                                                     0.75
               JLR      Receipt and review of responsive email correspondence from contact, M.
                        Lafrance, of the Philadelphia Inquirer regarding publication and quote of the
                        Legal Notice as to the six (6) Philly properties; Draft and send email response
                        back confirming receipt of same.                                                           0.25
               JLR      Answer call from Investor Victim, C. Snyder, requesting status update; Draft
                        and send subsequent email to the same providing summary tlmeline for her
                        records and ease of understanding upcoming actions and deadlines.                          0.25
               JLR      Answer call from Investor Victim, B. Revere, requesting status update and
                        update as to her percent recovery on her Receivership claim.                               0.25
               JLR      Return the voicemalls of Investor, S. Quandt, regarding his pending Bayside
                        metals; Leave volcemail notifying Investor of the metals status In transit.                0.25
               JLR     Telephone call with the Legal Notice Department of the Philadelphia Inquirer to
                       discuss payment of the quoted Legal Notice of Sale and Hearing as to the six
                       (6) Philly Properties.                                                                      0.50
               JLR     Telephone call with the advertising department of the Philadelphia Inquirer to
                       confirm the correct payment address of the Legal Notice of Sale and Hearing
                       for the six (6) Philly properties; Notify K. Crawford of the confirmation.                  0.50
               JSS     Review new production of documents for CFTC prepared by K. Whltlocl<.                       0.75
               JSS     Inter-office conference with K. Whitlock and expert regarding production of
                       documents to CFTC.                                                                          0.50
               JSS     Confer with Receiver regarding production of documents to CFTC.                             0.50
               AS     Found Simon and Asher's entities' EIN numbers and reviewed Chase Bank
                      statements.                                                                                  3.25
               KEW    Review DISCO database for new production set; conference with J. Stafford
                      regarding new production.                                                                    1.25
               CAM    Go through database of all metals and expert values for quality check (2);
                      review short list of coin values still needed (.5); work on finalizing claim
                      calculation forms (4).                                                                      6.50
               PCL    Communications with J. Stafford, K. Crawford, J. Buffa and A. Asel regarding
                      FTP site{.3); communications with K. Crawford, D. Baer, J, Hammel regarding
                      178 Rosemar {.2); communications with K. Crawford, R. Foelber, J. Buffa,
                      regarding claims calculation format(.3).                                                    0.80


                                                                                                                APP00028
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                           Page 29 of 40 PageID 5979


         f<elly Crawford Receivership - Metals.com                                                                     07/26/2021
                                                                                                        Account No:    16125-102
                                                                                                         Invoice No:     1026638
         Matter 102 - Representation of Receiver




                                                                                                               Hours
 07/13/2021      JLR Draft and send email to Investor Victim, G. Dunphy, attempting to contact him
                     subsequent to our call to Inform him that the Receiver has not received his
                     completed Investor Confirmation.                                                           0.25
                JLR Draft and send correspondence to Legal Notice Department of Philadelphia
                    Inquirer confirming receipt of payment for Legal Notice of Sale and Hearing as
                    to (6) Philly Properties.                                                                   0.25
                JLR Receipt and review of subsequent email from Legal Notice Department of the
                    Philadelphia Inquirer providing an update as to no receipt of the payment for
                    the Legal Notice of the Sale and Hearing of the six (6) Philly Properties; Draft
                    and send responsive emall to the same.                                                      0.25
                JLR Return the call of potential Investor Victim, L. Duka, regarding participation in
                    the Receivership; Unable to leave volcemail.                                                0.25
                CAM Continue preparing final calculation forms for claims report.                               4.50
                AS  Work on compiling Brol<ers' wire transfers.                                                 4.25
                PCL Communications with J.Stafford and A. Asel regarding document transfer.                     0.20
                PCL Communications with J. Stafford regarding FTP site.                                         0.40

 07/14/2021     JLR   Receipt and review of email correspondence from Investor Victim, K. Miller,
                      responsive to my previous pending Bayside metals request for written
                      Instruction; draft and send responsive email to Investor Victim, K. Miller,
                      regarding confusion as to her pending Bayside metals; Provide the specific
                      metals presently pending at Bayside.                                                      0.50
                JLR Receipt and review of email correspondence from Investor Victim, J,
                      Lindenmuth, regarding status update and notice as to obtaining a metals
                      broker; draft and send responsive email to Investor Victim, J, Lindenmuth,
                      providing responsive Receivership status update and tlmeline; Address metals
                     brol<er issue for sale of remaining metals as outside the scope of the
                     Receivership.                                                                             0.50
                JLR Receipt and review of subsequent email from Legal Notice Department of the
                     Philadelphia Inquirer confirming no further action and receipt of a copy of the
                     Legal Notice for the Receiver's records; Draft and send responsive email to
                     the same.                                                                                 0.25
                JLR Receipt of and listen to volcemail from Investor Victim, J, Gearhart, requesting
                     status update as to the Receivership; receipt and review of subsequent email
                     correspondence from Investor Victim, J. Gearhart, regarding request for
                     Receivership status update and confusion as to receipt of the Claim Report;
                     Draft and send responsive email to the same providing a tlmellne of upcoming
                     Receivership actions and deadlines.                                                       0.50
               ABS Update case law section In receivership report pertaining to subordination of
                     claims and send to Kelly Crawford for review (2.5)                                        2.50
               JSS Review and revise Montana's proposed Consent Order.                                         0.50
               AS    Research and compile list of brokers' wire transfers.                                     3.00
               JLR Return the call of Investor Victim, J. Raganswood, to provide requested status
                    update as to her Receivership claim                                                        0.50
               CAM Receive and respond to email from metal expert on last metal value needed
                    (.2); telephone call with investor P. Foley regarding claim and adjust claim
                    values as appropriate and finalize claim calculation form and document via
                    memo to file (.8); continue working on finalizing Investor claim calculation
                    forms (6.5).                                                                              7.50
               JSS Review and revise Maryland consent order.                                                  0.50

07/15/2021     JLR     Review Bayside Metals correspondences to locate/confirm transmittal of

                                                                                                            APP00029
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                            Page 30 of 40 PageID 5980


        Kelly Crawford Receivership - Metals.com                                                                       07/26/2021
                                                                                                        Account No:    16125-102
                                                                                                         Invoice No:     1026638
        Matter 102 - Representation of Receiver




                                                                                                               Hours
                     Investor, S. Gaw's, written Instructions as to his pending Bayside metals;
                    Confirm with K. Crawford regarding the same.                                                0.25
                JSS Review and respond to email from CFTC regarding verification of uploaded
                    documents                                                                                   0.25
                JLR Draft and send responsive email to Investor Victim, S. Gaw, regarding his
                    confusion as to images attached in Receivership correspondences and his
                    request for payment advancement against his Receivership Claim; Confer with
                    C. Morris regarding status of S. Gaw's untimely claim and advancement;
                    Forward the same to C. Morris for further review.                                           0.50
                AS  Worked on reports of broker commissions.                                                    2.50
                CAM Continue preparing claim calculation forms for Investors, Including reaching
                    out to many investors with incomplete Information (7).                                      7.00
                AE  Work on obtaining missing information for claims to complete calculation.                   3.50
                PCL Communications with J Stafford and C. Cajlgal regarding document delivery.                  0.30

07/16/2021      CAM Continue preparing claim calculation forms including reaching out to Investors
                    who have Incomplete Information to prepare calculations (6).                                6.00
                PCL Review pleadings and outstanding motions and begin preparation for motion
                    to compel hearing next week.                                                                0.80
                PCL Communications with D. Baer, K.Crawford, J.Hammel regarding status of
                    court order on motion to sell properties.                                                   0.30

07/19/2021     JLR    Receipt and review of email correspondence from Legal Notice contact of the
                      Philadelphia Inquirer providing attached copy of Legal Notice of Hearing and
                      Sale of the six (6) Philly properties; Draft and send responsive email to the
                      same; Provide to K. Crawford For Receivership records.                                    0.25
               JLR    Receipt and review of Internal email correspondence from L. Sanderson
                      regarding request from Investor Victim, W. Eacker, to return his calls
                      regarding Wells Fargo.                                                                   0.25
               JLR    Return the call of Investor Victim, W. Eacker, regarding his Wells Fargo checl<
                      used In the purchase of his Metals.com Order.                                            0.50
               JLR    Receipt of and listen to volcemail from Counsel of Signature Bank, M.
                      Scheiner, regarding non-compliance with multiple requests for account
                     opening documents, statements, copies of checks, wires, and deposits.                     0.25
               JLR   Research as to claim alleged by Investor Victim, W. Eacker, as to Chase
                     Metals worl<er E. Schwartz; Inform K. Crawford of the same.                               0.50
               JLR   Answer return call from Assistant General Counsel of Signature Bani<, M.
                     Scheiner, regarding document request; Draft and send subsequent email to
                     the same needed for confirmation of anticipated date of production.                       0.50
               JLR   Receipt and review of Internal email from K. Crawford regarding missing
                     documentation from the received document production of Signature Bank.                    0.25
               JLR   Receipt and review of email correspondence from K. Baboolal of Signature
                     Bank providing Secure Share files; Draft and send responsive email to the
                     same confirming receipt.                                                                  0,25
               JLR   Draft and send email correspondence to Counsel for Signature Bank, M.
                     Scheiner, requesting production of missing deposit record.                                0.25
               JLR   Receipt and review of email correspondence from Counsel of Signature Bani<,
                     M. Scheiner, detailing responsive document production update.                             0.25
               CAM   Continue preparing claim calculation forms for Investors (7); telephone call
                     with Investor regarding status (.2); research DISCO for Information on Elisa
                     Schwartz (.3).                                                                            7.50
               JLR   Receipt and review of responsive email correspondence from Counsel for

                                                                                                            APP00030
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                            Page 31 of 40 PageID 5981


       Kelly Crawford Receivership - Metals.com                                                                        07/26/2021
                                                                                                        Account No:    16125-102
                                                                                                         Invoice No:     1026638
       Matter 102 - Representation of Receiver




                                                                                                               Hours
                       Signature Bank, M. Scheiner, confirming receipt of the Receiver's request for
                       production of missing deposit records.                                                   0.25
                AE     Review, revise, finalize, and process claims and send out claims to Investors.           7.50
                PCL    Communications with K.Crawford and B.Given regarding F. McCarthy jewelry
                       and/or Amex purchase issues and upcoming motion to compel hearing(.8);
                       communications with K.Crawford and D.Baer regarding Wannamaker property
                       (.2).                                                                                    1.00

07/20/2021      JLR      Draft and send responsive email correspondence to Counsel for Signature
                         Bank, M. Scheiner, confirming receipt of his prior email correspondence
                         regarding the Receiver's request for production of missing deposit records.            0.25
                JLR      Answer telephone call from Investor Victim, I. Taggart, requesting status
                         update and confusion as to autonomy over remaining metals; Draft and send
                         recap email correspondence to the same.                                                0.50
                JLR      Receipt and review of email correspondence from Investor Victim, S. Gaw,
                        regarding the confirmation of his claim In the Receivership and the source of
                        his future recovery; draft and send responsive email to Investor Victim, S.
                        Gaw, confirming claim in the Receivership and detailing the source of his
                        future recovery; Confer with c. Morris to confirms. Gaw's claim In the
                        Receivership by way of Investor Confirmation and/or Bayside pending metals;
                        Confirm the same with K. Crawford.                                                      0.50
               JLR      Receipt and review of email correspondence from Signature Bank, K.
                        Babooal, providing Secure Share contribution flies to supplement the original
                        7/19 document production; Draft and send responsive email confirming receipt
                        of the same.                                                                            0.25
               JLR      Receipt and review of subsequent email correspondence from Signature
                        Bank, K. Babooial, providing the password necessary to access the
                        supplementation of responsive documentation on Secure Share; Draft and
                        send responsive email to the same confirming receipt.                                  0.25
               JLR     Prepare and send K. Crawford a PDF of Signature Bank supplemental
                       document production as to the missing deposit records.                                  0.25
               JLR     Interoffice correspondence with K. Crawford and C. Morris regarding
                       confirmation of receipt of Investor Victim, S. Gaw's, completed Investor
                       Confirmation; Confirmed missing.                                                        0.25
               JLR     Draft and send responsive email to Investor Victim, S. Gaw, providing the
                       attached Investor Confirmation and detailing submission date necessary to be
                       considered as having a Receivership claim.                                              0.25
               JLR     Leave responsive voicemail with Investor Victim, S. Gaw, detailing his need to
                       submit a completed Investor Confirmation necessary to secure his claim in the
                       Receivership.                                                                           0.25
               JLR     Answer return call from Investor Victim, s. Gaw, explaining the need for his
                       completion and return of his Investor Confirmation and address his shipment
                       question regarding his Bayside metals currently in transit.                             0.50
               JLR    Receipt of and listen to volcemail from Investor Victim, S. Gaw, regarding
                      Issues with tracking of Bayside metals and Investor Confirmation Exhibit A.              0.25
               JLR    Receipt and review of email correspondence from Investor Victim, S. Gaw,
                      regarding Issues/confusion with submitting completed Investor Confirmation
                      and tracking Information as to in transit Bayside Metals.                                0.25
               JLR    Return the call of Investor Victim, S. Gaw, addressing tracking Information
                      Issues with Bayside metals and submission of Investor Confirmation.                      0.75
               AS     Worked on brol<er commission totals and double-check malling lists for the
                      brokers.                                                                                8.00

                                                                                                            APP00031
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                               Page 32 of 40 PageID 5982


       f<elly Crawford Receivership - Metals.com                                                                           07/26/2021
                                                                                                            Account No:    16125-102
                                                                                                             Invoice No:     1026638
       Matter 102 - Representation of Receiver




                                                                                                                   Hours
                CAM    Continue preparing claim calculatlon forms for investors, Including
                       communications with investors who lacked information necessary to complete.                  6.50
                JLR    Receipt and review of email correspondence from Investor Victim, S. Gaw,
                       providing attached completed Investor Confirmation. Forward to C. Morris for
                       claim analysis.                                                                              0.25
                JLR    Draft and send subsequent email correspondence to Investor Victim, S. Gaw,
                       confirming receipt of his completed Investor Confirmation and addressing
                       Bayside metals tracking information email response; Leave volcemall.                         0.25
                AE     Review, revise, finalize, and process claims and send out claims to Investors.               3.00
                JLR    Receipt and review of email correspondence from Investor Victim, S. Gaw,
                       detailing the fax of his completed Investor Confirmation.                                    0.25
                PCL    Review of pleadings and file materials In connection with motion to compel
                       hearing and begin related preparation.                                                       1.10

07/21/2021      JLR       Draft and send responsive email to Investor Victim, S. Gaw, confirming receipt
                         of his completed Investor Confirmation and provide updated tlmellne of
                          Receivership.                                                                             0.25
                JLR      Receipt and review of email correspondence regarding Investor Victim, S.
                         Kraft, requesting confirmation of receipt of Investor Confirmation and status
                         update,                                                                                    0.25
               JLR       Receipt of and listen to volcemail from Investor Victim, B. Revere, requesting
                         status update as to the Receivership and percentage of claim recovery.                    0.25
               JLR       Return the call of Investor Victim, B. Revere, to provide status update and
                         answer as to percent recovery.                                                            0.25
               JLR       Return the call of Investor Victim, S, Kraft, to provide status update and
                         confirm receipt of completed Investor Confirmation; Confirm receipt of Investor
                         Confirmation In Receivership database.                                                    0.25
               JLR       Draft and send subsequent email to Investor Victim, S. Kraft, to outline the the
                         Receivership dates/deadlines as discussed during our telephone call.                      0.25
               JLR      Answer call from Investor Victim, S. Kelly, regarding receipt of her husband, J,
                         Kelly's, Bayside metals and questions as to Receiver claim status.                        0.25
               JLR      Draft and send subsequent email to Investor Victim, S. Kelly, outllng the
                        Receiver claim process as discussed during the telephone call for her
                        understanding and records.                                                                 0.25
               JLR      Answer call from Investor Victim, J. Dunphy, regarding confusion as to Direct
                        Trust company and documentation support necessary for his untimely Investor
                        Confirmation claim; Address the same with C. Morris as to processing the
                        same's late claim.                                                                         0.75
               JLR      Interoffice conference with K. Crawford regarding the preparing of three (3)
                       Notices of Stay in Commonwealth of Kentucky                                                 0.25
               AS      Worked on malling lists and envelopes for the recieved.                                     8.00
               WSY     Confer with Peter Lewis regarding need for powerpolnt presentation in support
                       of Motion to Compel discovery Into the source of Defendants' retainer funds
                       (.4); Review relevant pleadings for relevant background of the matter (.8);
                       Draft PowerPolnt Presentation addressing all Issues identified In Peter's
                      outline (2.5); Review Peter's revisions to the PowerPoint and Insert the same
                       for his review (1. 1).                                                                     4.80
               CAM    Complete claim calculation forms, Including worl~ing with investors and
                      searching databases for missing Information (7.5).                                          7.50
               PCL    Communications with K. B. Kugler, J. Buffa, et al., regarding receivership
                      Issues and status(2,0): review pleadings and file materials, prepare
                      presentation for motion to compel hearing tomorrow and related

                                                                                                                APP00032
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                               Page 33 of 40 PageID 5983


         Kelly Crawford Receivership - Metals.com                                                                         07/26/2021
                                                                                                           Account No:    16125-102
                                                                                                            Invoice No:     1026638
         Matter 102 - Representation of Receiver




                                                                                                                  Hours
                        communications with K.Crawford, W. Young , et al., regarding same (3.9).                   5.90

 07/22/2021     JLR     Review of Investor Confirmation and supporting documentation attached
                        thereto for Investor Victim, J. Raganswood, necessary to computing claim
                        value; Confer with C. Morris regarding Issues as to the same.                              1.00
                JLR     Receipt and review of Internal email correspondence regarding Investor
                        Victim, A. Bell, regarding confusion as to improper IRA created with Equity and
                        status of Receiver.                                                                        0.25
                JLR     Telephone call with Investor Victim, A. Bell, to address her questions as to
                        Equity Trust IRA and Receivers status update.                                              0.50
                JLR     Draft and send subsequent email to Investor Victim, A. Bell, summarizing our
                        prior telephone call and providing Receivership timellne for her understanding
                        and records.                                                                               0.25
                JLR     Receipt of and listen to volcemail of Investor Victim, M. Gutho, requesting
                       confirmation of receipt of Investor Confirmation.                                           0.25
                JLR     Research to confirm receipt of Investor Victim, M. Gutho, completed Investor
                       Confirmation; Confirmed.                                                                    0.25
                JLR    Return the call of Investor Victim, M. Gutho, to notify him of receipt of timely
                       completed Investor Confirmation.                                                            0.25
                JLR    Draft and send subsequent email to Investor Victim, M. Gutho, providing
                       summary of Receivership timeline for his understanding and records.                         0.25
                JLR    Receipt of and listen to voicemall from Investor Victim, A. Thomason,
                       requesting tax advice as to her Receivership claim.                                        0.25
               JLR     Return the call of Investor Victim, A. Thomason, requesting tax advice as to
                       her Receivership claim; Leave voicemail.                                                   0,25
               JLR     Draft and send subsequent email to Investor Victim, A. Thomason, notifying
                       her that we received her voicemail and are attempting to contact her to answer
                       her tax questions.                                                                         0,25
               JLR     Receipt of and listen to voicemail from Investor Victim, D. Burch, requesting
                       status update and Issue as to New Direction.                                               0.25
               JLR     Return the call of Investor Victim, D. Burch, to answer his questions regarding
                       Receivership status and New Direction.                                                     0.25
               JLR    Receipt of and listen to volcemall from Investor Victim, R. Adamczak,
                      requesting status update as to the Receivership,                                            0.25
               JLR    Return the call of Investor Victim, R. Adamczak, to provide status update as to
                      the Receivership and address question as authority to sell/mail/change
                      custodian of remaining metals.                                                              0.25
               CAM    Continue preparing claim calculation forms, Including working with Investors
                      and searching databases for missing information (7.5).                                      7.50
               WSY    Continue revision of PowerPoint presentation In support of Motion to Compel
                      at Peter Lewis' direction (1.2); travel to and participate in hearing on Motion to
                      Compel before Judge Toliver and debrief concerning the same afterward (2).                  3.20
               PCL    Prepare for and attend hearing on motion to compel Brantley Arant and Quinn
                      Emanuel (4.0); related communications with J, Buffa, K. Crawford regarding
                      hearing today and related lssues(2.5).                                                      6.50
               PCL    Review Monex ruling summary(.4) communications with J. Stafford and C.
                      Cajlcal regarding discovery documents (.2)                                                  0.60

07/23/2021     JLR    Receipt of and listen to volcemall from Investor Victim, B. Mitchell, requesting
                      Receivership status update.                                                                0,25
               JLR    Receipt of and listen to volcemail from Investor Victim, A. Thomason,
                      regarding confusion as to tax questions for her Receivership claim.                        0.25

                                                                                                               APP00033
             Case 3:20-cv-02910-X Document 316 Filed 09/22/21                              Page 34 of 40 PageID 5984


        Kelly Crawford Receivership - Metals.com                                                                               07/26/2021
                                                                                                             Account No:       16125-102
                                                                                                              Invoice No:        1026638
        Matter 102 - Representation of Receiver




                                                                                                                    Hours
                JLR      Return the call of Investor Victim, B. Mitchell, regarding request for status
                         update; Unable to leave volcemail.                                                             0.25
                JLR     Draft and send subsequent email to Investor Victim, B. Mitchell, notifying him
                        that his voicemail is inoperative and providing current Receivership timellne as
                        to his status update request.                                                                   0.25
                JLR     Return the call of Investor Victim, A. Thomason, regarding her request for a
                        tax questions as to her Receivership claim.                                                     0.25
                JLR     Review provided pleading in Bill Cravens and Mary Linda Cravens v. TMTE
                        Inc. D/B/A Metals.com et al. necessary for preparing Notice of Receivership
                        and Related Stay.                                                                               0.25
                JLR     Telephone call to the District Clerk of the Commonwealth of Kentucky Bullitt
                        Circuit Court regarding procedures for filing Notice of Receivership and
                       Related Stay in Bill Cravens and Mary Linda Cravens v. TMTE Inc. D/B/A
                       Metals.com et al.                                                                                0.25
                JLR    Draft Notice of Receivership and Related Stay in Bill Cravens and Mary Linda
                       Cravens v. TMTE Inc. D/B/A Metals.com et al. for the Commonwealth of
                       Kentucky Bullitt Circuit Court.                                                                  1.25
               PCL     Review G. Besen and L. Devaney retainer source letters and/or notice of
                       proposed substitution co and related communications with K. Crawford, et al.,
                       regarding same and notice of substitution.                                                       0.90
               CAM     Continue working on claim calculation forms, including revisions, research,
                       phone calls/emails, etc. to accurately complete claim calculation forms.                         7.50

07/24/2021     CAM    Continue generating claim calculation forms and doing quality check.                              6.00

07/25/2021     CAM    Continue working on claim calculation forms and updating claims value
                      databases.                                                                                        4.50
                      For Current Services Rendered                                                               291.75       50,515.00

                                                            Recapitulation
                Timekeeper                                                Hours       Hourly Rate               Total
                Walker S. Young                                            8.00          $265.00           $2,120.00
                A. Becca Skupln                                            6.50           265.00            1,722.50
                Jessica L. Rolls                                          52.25           225,00           11,756.25
                Cynthia A. Morris                                        128.00           125.00           16,000.00
                James Stafford                                             4.75           400.00            1,900.00
                Katherine Whitlock                                         3.50           200.00              700.00
                Alicia Echavarria                                         18.00           125.00            2,250.00
                Peter Lewis                                               24.00           440.00           10,560.00
                Avl Steinberg                                             46.75            75.00            3,506.25




06/29/2021            Overnight Delivery (1) Federal Express                                                                      23.88
07/02/2021            GOOGLE SUITE Subscription (BKC Firm CC)                                                                    252.00
07/06/2021            Microsoft - Monthly Subscription (BKC Firm CC)                                                             250.00
07/12/2021            Overnight Delivery (1) Federal Express                                                                      29.32
                      Total Expenses                                                                                             555.20




                                                                                                                  APP00034
              Case 3:20-cv-02910-X Document 316 Filed 09/22/21                  Page 35 of 40 PageID 5985

        Kelly Crawford Receivership -Metals.com                                                                  06/26/2021
                                                                                                  Account No:    16125-102
                                                                                                   Invoice No:     1023977
        Matter 102 - Representation of Receiver




                                                        Recapitulation
                 Timekeeper                                           Hours   Hourly Rate              Total
                 David B. Dyer                                         6.80      $475.00          $3,230.00
                 Priya K. Jesani                                      21.40       300.00           6,420.00
                 Mark Simon                                            0.60       435.00             261.00
                 Leslie Sanderson                                      1.00       320.00             320.00
                 Jessica L. Rolls                                     24.35       225.00           5,478.75
                 Morgan I<. Weaver                                     2.00       175.00             350.00
                 Cynthia A Morris                                    125.40       125.00          15,675.00
                 James Stafford                                        8.00       400.00           3,200.00
                 Katherine Whitlock                                   19.25       200.00           3,850.00
                 Alicia Echavarria                                    51.75       125.00           6,468.75
                 Peter Lewis                                          21.90       440.00           9,636.00
                 Avl Steinberg                                        40.25        75.00           3,018.75




 04/26/2021            Airfare Expense - flight to LAX for KMC/ AMERICAN AIRLINES (KMC Firm CC)                      421.80
 04/26/2021            Airfare Expense - flight to LAX for PCL/ AMERICAN AIRLINES (KMC Firm CC)                      421.80
 04/28/2021            Business meals - Per Diem/ $66.00 x 2 people                                                  132.00
 04/29/2021            Lodging Expenses - ANDAZ W HOLLYWOOD - PCL (KMC Firm CC)                                      357.28
 04/29/2021            Lodging Expenses -ANDAZ W HOLLYWOOD HYATT - KMC (KMC Firm CC)                                 357.28
04/29/2021             Business meals - Per Diem $66.00 x 2 people                                                   132.00
04/29/2021             Rental car - HERTZ (KMC Firm CC)                                                              186.76
04/30/2021             Parking Expense -DFW Airport Parking (KMC Firm CC)                                             48.00
05/26/2021             Postage                                                                                         0.51
05/26/2021            Postage                                                                                          0.51
06/01/2021            Postage                                                                                          1.02
06/02/2021            Storage - Google Suite (BKC Firm CC)                                                          252.00
06/03/2021            4 Overnight Deliveries (1) Federal Express                                                    155.50
06/03/2021            Postage                                                                                          1.02
06/04/2021            Postage                                                                                          0.51
06/04/2021            Postage                                                                                          0.51
06/08/2021            Microsoft Subscription I MICROSOFT (BKC Firm CC)                                              100.00
06/10/2021            Microsoft Subscription I MICROSOFT (BKC Firm CC)                                              150.00
06/11/2021            4 Overnight Deliveries (1) Federal Express                                                    134.99
06/14/2021            3 Overnight Deliveries (1) Federal Express                                                    176.44
06/16/2021            Computerized legal research                                                                 1,778.70
06/25/2021            2 Overnight Deliveries (1) Federal Express                                                     71.77
                      Total Expenses                                                                              4,880.40
                      Total Current Services and Expenses                                                        62,788.65




                                                                                                     APP00035
 Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                 Page 36 of 40 PageID 5986

                        Brown Fox PLLC
                        8111 Preston Road, Suite 300
                        Dallas, Texas 75225
                        Phone: (214) 327-5000
                                                                                                   INVOICE
                        Fax: (214) 327-5001                                                           Invoice ti 25957
                                                                                                     Date: 07/12/2021



 Kelly Crawford
 Receiver
 Scheef & Stone
 500 North Akard Street, Suite 2700
 Dallas> Texas 75201

Statement of Account




Metals.com and Barrick Capital Receivership


 Services

                                                                                  ·Hours           Rate       Total

 06101/2021    CCT         Correspondence with K. Crawford regarding status           0.10    $405.00       $40.50
                           of motion to show cause.

06/28/2021    CCT          Col'l'espondence with Receiver regarding                  0.30     $405.00      $121.50
                           documents previously requested from BOA;
                           correspondence with counsel to BOA regarding
                           same.

                                                                              Quantity Subtotal                0.4

                                                                              Services Subtot11l           $162.00


Expenses

Date · . · Pe~crlpJlon .                                                                                     Total

03/23/2021    Hand delivety charges to Kelly Crawford, Scheef & Stone.                                      $22.57

                                                                          Expenses S ubtotnl                $22.57




                                           .~~    cEXHIBIT

                                                 __,__,,::____                                            APP00036
 Case 3:20-cv-02910-X Document 316 Filed 09/22/21                                      Page 37 of 40 PageID 5987

                           Brown Fox PLLC
                           8111 Preston Road, Suite 300
                           Dallas, Texas 7 5225
                                                                                                       INVOICE
                           Phone: (214) 327-5000
                           Fax: (214) 327-5001                                                            Invoice fJ 26409
                                                                                                         Date: 08/ I 0/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account




Metals.com and Barrick Capital Receivership

 Date ·. ·      lnHlnls    · Description         ·\.·· ..:~·">~' ~~. :                  ·Hours         Rntc        Total

 07/02/2021     CCT          Correspondence with counsel to BOA regarding                 0.10     $405,00       $40.50
                             additional missing records.

 07/08/2021     CCT          Follow-up col'l'espondence with counsel to BOA               0.20    $405.00        $81.00
                             regarding missing records; correspondence with
                             Receiver regarding same.

 07/13/2021     CCT          Correspondence with Receiver regarding additional            0.10    $405.00        $40.50
                             documents provided by Bank of America.

                                                                                   Quantity Subtotal                 0.4

                                                                                           Subtotal            $162.00


Kelly Crawford v. Walter Vera, et al.

Date          · Initials    Descl'iptlon                                               ·Hours          Rate       Tofil!

07/12/2021     CCK          Telephone conference with K. Crawford regarding               0.60    $425.00      $255.00
                            facts giving rise to receivership and claims against
                            brokers, questions and concems regarding broker




                                                             Page I of3
                                                                                                              APP00037
Case 3:20-cv-02910-X Document 316 Filed 09/22/21                           Page 38 of 40 PageID 5988




                   claims and evaluating same.

07/15/2021   CCK   Review CFTC Complaint, Receivership Order and                4.50       $425.00     $1,912.50
                   Receiver's Initial Repol't; review draft complaint
                   against brokers prnvided by Mr. Crnwford;
                   reseal'ch r e g a r d i n g • • • • • • • • • •


                   telephone conference with K. Crawford regarding
                   questions regarding strategy and factual
                   allegations; begin substantial edits to draft
                   complaint.

07/30/2021   CCK   Continue l'eview of draft Complaint against                  l.60       $425:00      $680.00
                   Brokers, !'esearch regarding•     Ig


                                                         continue
                   drafting/revising same.

                                                                        Quantity Subtotal                   6.7

                                                                                 Subtotal             $2,847.50




                                                                             Hours Total                    7.1

                                                                                Subtotal              $3,009.50

                                                                                       Total          $3)009.50




                                             Page 2 of3
                                                                                                     APP00038
   Case 3:20-cv-02910-X Document 316 Filed 09/22/21                      Page 39 of 40 PageID 5989



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                           §
  U.S. COMMODITY FUTURES TRADING                           §
  COMMISSION, et al.                                       §
                                                           §
                         Plaintiffs,                       §
                                                           §             CIVIL ACTION NO.
     v.                                                    §               3:20-CV-2910-L
                                                           §
  TMTE, INC. a/Ida METALS.COM, CHASE                       §
  METALS, INC., CHASE METALS, LLC,                         §
  BARRICK CAPITAL, INC., LUCAS THOMAS                      §
  ERB a/Ida LUCAS ASHER a/Ida LUKE ASHER,                  §
  and SIMON BA TASHVILI,                                   §
                                                           §
                         Defendants,                       §
                                                           §
  TOWER EQUITY, LLC,                                       §
                                                          §
                         Relief Defendant.                §
                                                          §

                    DECLARATION OF RECEIVER KELLY M. CRAWFORD

          My name is Kelly M. Crawford, I am over 18 years of age, have never been convicted

  of any crime involving moral turpitude and I am fully competent to make this Declaration.

          1.     I am the Receiver appointed by this Court by an Order Granting Plaintifj.s·'

  Emergency Ex Parte Motion for Statutory Restraining Order, Appointment of Receiver, and

  Other Equitable Relief (the "SRO'') entered on September 22, 2020 in the case styled above

 and I have personal knowledge of each of the facts stated below.

          2.    I reviewed the invoice from Scheef & Stone, LLP for the legal fees billed for the

 period from May 26, 2021 through July 25, 2021. I wrote off more than $40,000 of time that I

 believed should not be billed to the receivership estate. Specifically, the original invoice I received


DECLARATION OF RECEIVER KELLY M. CRAWFORD                            EXHIBIT                     Page 1

                                                                                            APP00039
      Case 3:20-cv-02910-X Document 316 Filed 09/22/21                           Page 40 of 40 PageID 5990



     from Scheef & Stone, LLP totaled $138,600 in fees. In exercising my billing judgment, I wrote

     off$30,176.75 of legal fees to arrive at the total $108,423.25, which I then discounted by 15%. I

     primarily wrote off time of associate attorney Jessica Rolls who has been returning calls from

    investors and assisting investors with the claims process.             I also wrote off more time of the

    paralegals who worked on inputting information in the database of investor information, preparing

    claims to mail to the investors, analyzing claims received from investors, and communicating with

    investors.

                3.       Of the discounted fees 1 of $92,159.76 billed by Scheef & Stone, LLP, $48,984 of

    the fees were attributable to obtaining information from investors for the claims process, conferring

    with investors, analyzing the claims received from the investors, assisting me with my Claims

    Report, and assisting investors with pending metals orders obtain their metals or liquidation value

    from Bayside Metals.

               4.        I declare under penalty of pe1jury that the foregoing is true and correct and is within

    my personal knowledge.


  Dated:             September 10, 2021




1 After   I reduced the final invoice by 15%.

DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                               Page 2


                                                                                                    APP00040
